                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                 KNOXVILLE DIVISION


   LEWIS COSBY, KENNETH R. MARTIN,
   as beneficiary of the Kenneth Ray Martin
   Roth IRA, and MARTIN WEAKLEY on            CLASS ACTION
   behalf of themselves and all others
   similarly situated,                        JURY TRIAL DEMANDED

                       Plaintiffs,

   vs.                                        No. 3:16-cv-00121
   KPMG, LLP,

                       Defendants.

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                  SECOND AMENDED CLASS ACTION COMPLAINT
   ______________________________________________________________________________


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               Plaintiffs, Lewis Cosby, Kenneth R. Martin (as beneficiary of the Kenneth Ray Martin

   Roth IRA), and Martin Weakley (hereinafter, “Plaintiffs”), through their undersigned attorneys,

   make the following allegations against Defendant KPMG, LLP (“KPMG”), based on their

   personal knowledge, on information and belief, and on the investigation of Plaintiffs’ counsel,

   which included a review of relevant U.S. Securities and Exchange Commission (“SEC”) filings

   by Miller Energy Resources, Inc. (“Miller Energy” or “the Company”), records of judicial

   proceedings in the United States District Court for the Eastern District of Tennessee, orders filed

   by the SEC In the Matter of Miller Energy Resources, Inc., Paul W. Boyd, CPA, David M. Hall,

   and Carlton W. Vogt, III CPA, SEC Admin. Proceeding File No. 3-16729 (August 6, 2015), the

   order filed by the SEC In the Matter of KPMG LLP and John Riordan, CPA, SEC Admin.

   Proceeding File No. 3-18110 (August 15, 2017), filings in In re Miller Energy Resources, Inc., et

   al., No. 15-00313 (D. Alaska Bankr. Ct.), as well as regulatory filings and reports, press releases,

   public statements, news articles, other publications, securities analysts’ reports and advisories

   about Miller Energy and other readily obtainable information. Plaintiffs believe that substantial,

   additional evidentiary support will exist for the allegations set forth herein after a reasonable

   opportunity for discovery.

   I.          NATURE OF ACTION

                     Throughout the Class Period,1 KPMG2 perpetuated a massive fraudulent scheme

   at Miller Energy on the investing public by maintaining a financial house of cards centered on oil

   and gas assets in Alaska (the “Alaska Assets”). In late 2009, Miller Energy purchased the


        1
         The Class Period is from August 29, 2011, the date of the 2011 Form 10-K in which
   KPMG issued an unqualified opinion, and ends on October 1, 2015, the date Miller Energy filed
   for bankruptcy.
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        Miller Energy sought protection under federal bankruptcy laws on October 1, 2015.
   Therefore, it is not named as a Defendant in this action.

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   Alaska Assets out of bankruptcy for $2.25 million in cash and the assumption of $2 million in

   liabilities. Miller Energy then promptly falsified its financials to portray the impression that

   those assets were worth a massively overstated $480 million. The overstatement of the Alaska

   Assets was by far the single most important event in Miller Energy’s history; transforming it

   from a penny-stock company trading on the pink sheets, to one traded on the New York Stock

   Exchange (“NYSE”), with a stock price reaching nearly $9 per share.

                   Under significant pressure from investors to hire a top public accounting firm, in

   February 2011, Miller Energy hired KPMG.            Rather than abide by its obligations under

   Generally Accepted Accounting Standards (“GAAS”), KPMG intentionally or recklessly

   undertook a years-long scheme to assist Miller Energy in its fraud. Specifically, KPMG refused

   to see or even investigate the obviously fraudulent nature of the valuation of the Alaska Assets,

   yet issued year after year of unqualified clean audit opinions vouching for the valuation of those

   assets.     Unbeknownst to the investing public, KPMG’s clean audit opinions lacked any

   reasonable basis and were not conducted in accordance with GAAS, such that they amounted to

   no audits at all.

                   KPMG’s unreasonable, clean audit opinions propped-up the Miller Energy house

   of cards, causing enormous harm to investors.

                   The Miller Energy house of cards finally began to collapse in December 2013,

   when it started to become clear that the Alaska Assets were worth nowhere near what KPMG

   and Miller Energy said they were, in large part because the assumptions about how much it

   would cost Miller Energy to actually extract hydrocarbons from those Alaska Assets were

   massively and fraudulently understated. As this reality materialized, Miller Energy’s securities

   prices began to crumble. Then, in December 2014, the Company disclosed it was taking a



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   $265.3 million impairment charge on the Alaska Assets, in part because of issues relating to cost.

   Three months later, the Company disclosed yet another impairment charge of $150 million on

   the Alaska Assets, ultimately writing down almost all the goodwill from that acquisition. By

   2015, the Company’s securities had been de-listed by the NYSE, and the Company (along with

   two officers and its former outside auditor) faced an SEC-enforcement action targeting

   accounting practices regarding the valuation of the Alaska Assets. By year’s end, the Company

   had settled with the SEC, agreeing to pay a $5 million fine, and was in bankruptcy. By 2016, the

   Company emerged from bankruptcy, all of its stock voided, and its assets divided by its largest

   creditors.

                  The Company finally admitted its fraud on March 29, 2016, when it disclosed that

   none of its financial statements regarding the valuation of the Alaska Assets should be relied

   upon. However, this admission came far too late for shareholders, who by then had already

   suffered enormous losses on their investments.

                  In addition to investigating Miller Energy’s culpability, the SEC concurrently –

   and unbeknownst to the public – was investigating KPMG’s role in the fraudulent overstatement

   of the Alaska Assets. In August 2017, KPMG and its lead partner on the Miller Energy

   engagement, John Riordan (“Riordan”), settled with the SEC (“KPMG Order”). In the KPMG

   Order, the SEC found that KPMG engaged in “improper professional conduct” and “securities

   law violations” relating to its “review and audit of the financial statements of Miller Energy

   Resources, Inc.”

                  Specifically, after an extensive investigation, including review of KPMG’s Miller

   Energy audit workpapers and other internal documents, the SEC found, among other things, that:

   (1) KPMG’s valuation of the Alaska Assets at an “inflated value of $480 million . . .violated



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   generally accepted accounting principles (“GAAP”) and overstated the fair value of the assets by

   hundreds of millions of dollars”; (2) KPMG “failed to comply with standards promulgated by the

   Public Company Accounting Oversight Board (“PCAOB”), chiefly with respect to the

   procedures relating to the oil and gas properties that contained the overstated asset values”; (3)

   KPMG “failed to obtain sufficient competent evidence regarding the impact of the opening

   balances of the Alaska Assets, despite knowing that no proper fair value assessment had been

   performed by management”; (4) KPMG “failed to appropriately consider the facts leading to

   Miller Energy’s acquisition of the Alaska Assets, including the multiple offers received for those

   assets and the “abandonment” of the assets by the prior owner” in valuing the Alaska Assets; (5)

   KPMG “failed to sufficiently review certain forecasted costs associated with the estimation of

   the fair value of the Alaska Assets, which were understated, and to detect that certain fixed assets

   were double counted in the company’s valuation”; (6) KPMG “failed to properly assess the risks

   associated with accepting Miller Energy as a client and to properly staff the audit”; (7) KPMG

   “overlooked evidence that indicated a possible overvaluation of the Alaska Assets”; (8) KPMG

   “failed to exercise the requisite degree of due professional care and skepticism” in auditing

   Miller Energy”; and (9) even after KPMG management and national office personnel became

   aware of the unusual and highly material valuation of the Alaska Assets, KPMG failed to “take

   sufficient action to determine that an appropriate response was taken by the engagement team

   regarding the risk of overvaluation of the Alaska Assets.”


                  The SEC further explained that:

                  KPMG [] should have known that Miller Energy’s financial
                  statements were not in accordance with GAAP. They knew that
                  the two reports the company relied on to substantiate the fair value
                  of the Alaska Assets were not fair value estimates that were
                  appropriate for financial reporting purposes. They should have
                  known that the inclusion of the numbers in the insurance report

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                   double counted as much as $110 million worth of the fixed assets.
                   Moreover, throughout the 3Q2011 review and fiscal 2011 audit,
                   KPMG [] were aware of the company’s inadequate accounting
                   staff, ineffectual internal controls, and management’s possible
                   incentive to overstate the value of the Alaska Assets. During the
                   review and audit, they should have been aware of the understated
                   forecasted costs in the reserve report. Yet KPMG [] failed to take
                   reasonable steps to determine that the company’s valuation for its
                   Alaska acquisition was properly recorded pursuant to applicable
                   GAAP.

                   To settle the action, KPMG and Riordan agreed to pay the SEC fines of $1

   million and $25,000, respectively.       In addition, KPMG agreed to pay disgorgement of

   $4,675,680, which represents the audit and audit-related fees paid to KPMG by Miller Energy

   over the course of their auditor-client relationship between 2011 and 2014, and prejudgment

   interest of $558,319. The KPMG Order also censured KPMG, and denied Riordan the privilege

   or appearing or practicing before the SEC Commission as an accountant.

                   By this action, Plaintiffs, for themselves and other purchasers of Miller Energy

   common and preferred stock, seek damages against KPMG for the wrongdoing outlined above,

   and described in more detail below.

   II.         JURISDICTION AND VENUE

                   This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

   §1331, §27 of the Exchange Act, and § 22 of the Securities Act. The claims asserted herein arise

   under §§10(b), 20(a), 20(b), and 20A of the Exchange Act (15 U.S.C. §78j(b), §78t(a) and

   §78t(b)), and 78t-l, Rule 10b-5(a)-(c) promulgated thereunder (17 C.F.R. §240.10b-5), and under

   § 11 of the Securities Act (15 U.S.C. § 77k).

                   Venue is proper in this District pursuant to Section 27 of the Exchange Act,

   Section 22 of the Securities Act, and 28 U.S.C. §1391(b) and (c) because one or more

   Defendants may be found or resides here or had agents in this district, transacted or is licensed to


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   transact business in this district, and because a substantial portion of the affected trade and

   commerce described below has been carried out in this district.

                    In connection with the acts and conduct alleged in this Second Amended Class

   Action Complaint (“Second Amended Complaint” or “SAC”), Defendant KPMG, directly or

   indirectly, used the means and instrumentalities of interstate commerce, including, but not

   limited to, the mails, interstate telephone communications, and the facilities of the national

   securities markets.

   III.        PARTIES

               A.   Lead Plaintiffs

                    Lead Plaintiff, Lewis Cosby (“Cosby”), purchased shares of Miller Energy

   common stock and was damaged thereby.

                    Lead Plaintiff, Kenneth R. Martin (“Martin”), the primary beneficiary of the

   Kenneth Ray Martin Roth IRA (“Martin Roth IRA”), purchased shares of Miller Energy

   common stock during the Class Period and was damaged thereby.

                    Named Plaintiff, Martin Weakley (“Weakley”), purchased shares of Miller

   Energy Series C Preferred Stock and Miller Energy Series D Preferred Stock on or traceable to

   the Offerings (see ¶ 284) during the Class Period and was damaged thereby.

               B.   Defendant KPMG

                    KPMG is one of the “Big Four” international accounting firms, with 179 offices

   across 19 countries and 25,000 employees. KPMG is duly organized and exists under the laws

   of the State of Delaware, with its main office at 345 Park Avenue, New York, New York.

   KPMG also has an office in Knoxville, Tennessee. While the firm’s literature states that it is a




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 leader in the field of oil and gas,3 the firm’s Knoxville office lacked significant experience in the

 oil and gas field.

                 KPMG was retained by Miller Energy as the Company’s independent auditor on

 February 1, 2011. KPMG issued unqualified reports on Miller Energy’s financial statements for

 the years-ending April 30, 2011, April 30, 2012, April 30, 2013, and April 30, 2014, certifying

 that it had audited those statements in accordance with GAAS and that the statements presented

 the financial position of Miller Energy fairly and in conformity with GAAP.4 Every audit report

 of Miller Energy’s financial statements by KPMG for 2011-14 was a “clean opinion,” an

 unqualified report that the financial statements were fairly presented in all material respects.

 This is the highest level of audit report a CPA may issue. These reports were all false and

 misleading.

                 In addition, KPMG consented to the use of its auditor reports in each of Miller

 Energy’s six offerings of Series C and Series D Preferred Stock during the class period.

                 In each of the unqualified auditor’s reports on Miller Energy’s 2011-2014

 financial statements, KPMG certified that: (i) it had audited Miller Energy’s financial statements

 in accordance with auditing standards generally accepted in the United States; (ii) it had planned

 and performed those audits “to obtain reasonable assurance about whether the financial

 statements are free of material misstatement”; (iii) in its opinion, Miller Energy’s financial

 statements “present fairly, in all material respects, the consolidated financial position” of Miller


      3
       KPMG states that it provides professional services to 76% of the top 50 oil and gas
 companies in the Forbes 2000; 69% of oil and gas companies in the FT Global 500, and 70% of
 the largest refining companies on the Fortune Global 500.
      4
      According to KPMG’s Class Period proxy statements, KPMG billed Miller Energy in
 excess of $3,296,470 from the period beginning February 1, 2011 and ending April 30, 2014 for
 auditing the Company’s financial statements. KPMG also submitted an unsecured claim against
 Miller Energy in bankruptcy, seeking payment of $448,000.00.

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 Energy “in conformity with accounting principles generally accepted in the United States”; and

 (iv) its audits provided a “reasonable basis” for its opinions.

                  During the years 2011 to 2014, the fees paid by Miller Energy to KPMG were

 reported to be as follows, totaling $3,296.470:

                                      2014            2013        2012          2011
                  Audit Fees     1,214,000         852,000     578,000       451,000
                  Tax or
                  Other            163,470          38,000
                  Fees
                  Total          1,377,470         890,000         578,000   451,000


             C.   Relevant Non-Parties

                  Non-party Miller Energy Resources, Inc. (“Miller Energy”) was an independent

 exploration and production company that explored for, developed, and operated oil and gas wells

 in south-central Alaska and Tennessee. During the Class Period, Miller Energy stock was traded

 on the NYSE, with its common stock trading under the ticker symbol “MILL,” and its preferred

 stock trading under the ticker symbols “MILLprC” (for Series C Preferred Stock) and

 “MILLprD” (for Series D Preferred Stock).

                  As of September 29, 2015, Miller Energy had approximately 46.7 million shares

 of common stock outstanding and 6.7 million shares of preferred stock outstanding.          On

 September 11, 2015, the Company caused its common and preferred stock to be de-listed from

 the NYSE. On October 1, 2015, the Company filed a petition seeking relief under federal

 bankruptcy statutes. On March 29, 2016, the bankruptcy court approved a reorganization plan

 for Miller Energy. The Company was reorganized into separate entities represented by its eleven

 (11) subsidiaries, all of the Company’s existing equity interests were cancelled, including

 outstanding shares of common and preferred stock, and a plan was in place to issue new common



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 stock. Control of assets was given to the Company’s main creditor, Apollo Investment Corp.

 Small investors were left empty-handed.

               Non-party David M. Hall (“Hall”) served as the COO of Miller Energy from July

 18, 2013 until August 6, 2015. Hall also served as a member of the Company’s Board of

 Directors from December 10, 2009 until April 16, 2015. Hall had previously served as CEO of

 the Company’s Alaska subsidiary, Cook Inlet Energy (“CIE”), and had worked with the Alaska

 Assets during the mid-1990s. Prior to joining the Company, Hall served from January 2008 to

 December 2009 as Vice President and General Manager of Alaska Operations for the immediate

 past owner of the Alaska Assets, Pacific Energy Resources, Ltd. (“PER”).

               Non-party David J. Voyticky (“Voyticky”) served as the President of Miller

 Energy from June 9, 2011 until August 12, 2014, as its Acting Chief Financial Officer from

 September 2011 until February 2014, and as a Director from April 2010 to August 12, 2014.

 Voyticky served as a member of the Audit Committee from 2010 to 2011.

               Non-party Paul W. Boyd (“Boyd”) served as Miller Energy’s principal accounting

 officer and CFO from 2008 to 2011, and as the Company’s Director of Risk Management from

 2011 until 2014. Boyd has been a licensed CPA in Tennessee since 1993.

               Non-party Carlton W. Vogt, III (“Vogt”) was the audit team leader at Miller

 Energy’s former outside auditing firm, non-party Sherb & Co., LLP (“Sherb”), a now defunct

 CPA firm suspended by the SEC in 2013 for improper professional conduct unrelated to its work

 for Miller Energy. Vogt led a Sherb audit team that audited the Company’s financial statements

 for fiscal years ended 2009 and 2010.




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                 Non-party John Riordan (“Riordan”) is a partner in KPMG’s audit practice in

 Knoxville, Tennessee. Riordan is currently the Managing Partner of KPMG’s Knoxville office.

 Riordan was the lead engagement partner on KPMG’s Miller Energy account.

                 Non-party John Brawley (“Brawley”) was Miller Energy’s CFO from February

 2014 to November 2014.

                 Non-party Sam Bennett is a partner in KPMG’s audit practice in Knoxville and

 assisted Riordan in handling the Miller Energy account.

                 Non-party Scott Boruff (“Boruff”) was a member of the Miller Energy Board of

 Directors from August 6, 2008 to March 29, 2016. He also served as the Executive Chairman of

 the Board until his departure. Boruff served as Miller Energy’s CEO from August 6, 2008 to

 September 14, 2014 and as President from June 26, 2010 to June 14, 2011. Boruff is the son-in-

 law of Deloy Miller, who founded Miller Energy in 1978.

  IV.        CLASS ACTION ALLEGATIONS

                 Plaintiffs bring this class action pursuant to Federal Rules of Civil Procedure

 23(a) and 23(b) on their own behalf and on behalf of:

                 All persons and entities, their agents, successors in interest,
                 assigns, heirs, executors, and administrators who purchased Miller
                 Energy common and preferred stock between August 29, 2011 and
                 October 1, 2015 (the “Class Period”) and who were damaged
                 thereby (the “Section 10(b) Class”). Excluded from the Class are
                 defendants and their families, the officers and directors and
                 affiliates of defendants, at all relevant times, members of their
                 immediate families and their legal representatives, heirs,
                 successors or assigns, and any entity in which defendants have or
                 had a controlling interest.

                 Plaintiffs also bring this class action pursuant to Federal Rules of Civil Procedure

 23(a) and 23(b) on their own behalf and on behalf of:

                 All those who purchased Miller Energy preferred shares pursuant
                 to or traceable to the Offering Documents (the “Section 11 Class”).

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                Excluded from the Section 11 Class are defendants and their
                families, the officers and directors and affiliates of defendants, at
                all relevant times, members of their immediate families and their
                legal representatives, heirs, successors or assigns, and any entity in
                which defendants have or had a controlling interest.

                The members of the Section 10(b) and Section 11 Classes are so numerous that

 joinder of all members is impracticable. While the exact number of members of the Section 10(b)

 and Section 11 Classes is unknown to Plaintiffs at this time and can only be ascertained through

 appropriate discovery, Plaintiffs believe that there are hundreds of members in the proposed

 Section 10(b) and Section 11 Classes. Record owners and other members of the Section 10(b)

 and Section 11 Classes may be identified from records maintained by Miller Energy or its

 transfer agent and may be notified of the pendency of this action by mail, using the form of

 notice similar to that customarily used in securities class actions.

                Plaintiffs’ claims are typical of the claims of the Section 10(b) and Section 11

 Classes in that all Class members were damaged by KPMG’s violation of the federal securities

 laws, and the relief sought—damages for losses caused by those violations—is common to the

 Section 10(b) and Section 11 Classes.

                Numerous questions of law or fact arise from KPMG’s conduct that are common

 to the Class, including but not limited to:

                a.      whether the federal securities laws were violated by KPMG acts during
                        the Class Period;

                b.      whether and to what extent Miller Energy’s financial statements during the
                        Class Period, and incorporated in the Offering Documents, failed to
                        comply with GAAP;

                c.      whether the value of the Alaska Assets was fraudulently overstated during
                        the Class Period and in the Offering Documents;

                d.      whether statements made (or omissions) by KPMG to the investing public
                        during the Class Period and in the Offering Documents misrepresented (or


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                         omitted to state) material facts about the business, operations and
                         management of Miller Energy;

                  e.     whether KPMG’s audits of Miller Energy’s financial statements during the
                         Class Period, and incorporated into the Offering Documents, were
                         conducted in accordance with GAAS and the standards of the PCAOB;

                  f.     whether KPMG abandoned its duty of independence as Miller Energy’s
                         auditor; and

                  g.     to what extent the members of the Section 10(b) and Section 11 Classes
                         have sustained damages and the proper measure of damages.

                  These and other questions of law and fact are common to the Section 10(b) and

 Section 11 Classes and predominate over any questions affecting only individual members of the

 Section 10(b) and Section 11 Classes.

                  Plaintiffs will fairly and adequately represent the interests of the Section 10(b)

 and Section 11 Classes in that they have no conflict with any other members of the Classes.

 Furthermore, Plaintiffs have retained competent counsel experienced in class action and other

 complex litigation.

                  This class action is superior to the alternatives, if any, for the fair and efficient

 adjudication of this controversy. Prosecution as a class action will eliminate the possibility of

 repetitive litigation. There will be no material difficulty in the management of this action as a

 class action.

  V.         EXCHANGE ACT ALLEGATIONS

             A.   Background of Miller Energy

                  Founded in 1967, Miller Energy was an independent oil and natural gas

 exploration, production, and drilling company operating in multiple exploration and production

 basins in North America. From early 2002 to December 2009, Miller Energy operated on the

 fringes of the oil and gas exploration and production industry, as its stock price regularly traded



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 at less than a dollar per share, falling to a low of $0.04 per share in December 2007. At that

 time, the Company had approximately twenty (20) full-time employees, 363 stockholders, and

 ownership in fifteen (15) active oil wells and twenty-five (25) gas wells.

                  In the midst of the financial recession, Miller Energy was in dire straits. In

 August 2008, the Company named Scott Boruff (“Boruff”), company founder Deloy Miller’s

 son-in-law, as a new Director and CEO.           Boruff allegedly told the Company’s Board of

 Directors: “I am going to take this company big . . . if you hire me, you’re going to do it my

 way, and I’m going to find other companies to acquire and we’re going to grow Miller like

 crazy.” Soon after, the Company began acquiring additional oil and gas properties.

                  Though he lacked oil and gas experience, had never previously been a CEO, and

 had no comprehension of the reporting responsibilities of publicly-traded companies, Boruff’s

 mission was to make Miller Energy a relevant player in the oil and gas industry, using whatever

 means necessary. Through private stock-offerings and loans, Boruff began raising capital for his

 promised expansion. By 2009, the Company was ready to make a deal to put itself on the map.

             B.   Miller Energy Purchases the Alaska Assets

                  In the fall of 2009, Miller Energy learned that certain oil and gas interests located

 in Alaska (the “Alaska Assets”) were in the process of being legally “abandoned” as part of the

 bankruptcy proceedings of a California-based energy company. The Alaska Assets consisted of

 leases covering 602,000 acres of mostly unproven exploratory oil and gas prospects. In addition

 to these prospects, the leases included five operative oil and gas wells located mainly on two

 fields, two major facilities, and an offshore platform.

                  In late 2008, the former owner of the Alaska Assets began extensive public

 marketing efforts to sell those assets. These marketing efforts included hiring a leading financial

 advisory firm, which approached roughly 40 market participants and made available to them a

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 data room containing materials about the value and operations of the assets. In mid-2009, after

 these marketing efforts failed, the Alaska Assets were the subject of a public bankruptcy court

 sponsored auction, with the winning bidder agreeing to pay $8.1 million for the assets. A second

 entity, which bid $7 million, was designated as the backup bidder. However, after additional due

 diligence, neither bidder closed on the sale.

                  Thereafter, the former owner sought, and obtained, as part of its public

 bankruptcy administration, an order allowing it to abandon title to the Alaska Assets. In

 approving the abandonment of the assets, the bankruptcy court publicly concurred with the

 former owner’s assessment that the Alaska Assets were of “no value or other benefit” to the

 former owner. A primary purpose of the abandonment order was to relieve the former owner of

 virtually all financial obligations relating to the Alaska Assets.

                  Following Miller Energy’s expression of interest in acquiring the Alaska Assets,

 the abandonment order was rescinded so that the assets could be sold. Miller Energy ultimately

 obtained the Alaska Assets via a competitive auction by outbidding a subsidiary of an NYSE-

 listed company, which at the time was the largest land drilling contractor in the world. Miller

 Energy’s winning bid consisted of $2.25 million in cash plus the assumption of certain liabilities

 (reported at $2.22 million). The transaction closed on December 10, 2009.

             C.   Miller Energy Grossly Overstates the Value of the Alaska Assets.

                  AS Boyd, Miller Energy’s former CFO and head of its accounting department,

 candidly admits, Miller Energy’s accounting practices were “the blind leading the blind.”

                  In a December 16, 2009 press release, Miller Energy announced the acquisition of

 the Alaska Assets, claiming a fair value of $325 million.

                  To record the value of the acquired oil and gas properties, Boyd requested a

 reserves report prepared by petroleum engineering firm, Ralph E. Davis (“RE Davis”). Such

                                                   14
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                                   3208
 reports are commonly used in the oil and gas industry to estimate quantities of oil and gas (the

 reserves) expected to be recovered from existing properties. However, the figures used in

 reserves reports are expressly not to be considered “an estimate of fair market value.”5

                    The RE Davis reserves report was finalized on February 22, 2010, and reflected a

 pre-tax present value of net cash flows discounted at 10% (“PV-10”) of $368 million. The report

 expressly stated that the figures therein were not provided as an estimate of fair value.

                    The $368 million value in the RE Davis reserves report failed to represent fair

 value for several reasons, including that it:

             a. failed to make adjustments for income taxes;

             b. used a 10% discount rate that was inappropriate under GAAP for determining fair
                value;

             c. overstated cash flows from certain categories of reserves estimates by failing to apply
                any risk weight to such reserves and the resulting cash flows;

             d. failed to include amounts for certain asset retirement obligations;

             e. understated the projected operating and capital expenses of $237 million; and

             f. relied upon grossly understated expense projections provided by Miller Energy’s head
                of Alaska operations.

                    Upon receiving the report, Boyd, who undertook no additional analysis, simply

 recorded the $368 million figure in the Company’s Form 10-Q for the quarter ending January 30,

 2010 and filed with the SEC on March 22, 2010, as the fair value of the acquired oil and gas

 properties, resulting in an artificially-increased book value of Miller Energy’s oil and gas

 properties on its balance sheet by $368 million. In addition to the $368 million value recorded


      5
       See FASB, SFAS 69, Disclosures About Oil and Gas Producing Activities, Appendix C,
 Basis for Conclusions, 77 (“Although it cannot be considered an estimate of fair market value,
 the standardized measure of discounted net cash flows should be responsive to some of the key
 variables that affect fair market value, namely, changes in reserve quantities, selling prices,
 production costs, and tax rates.”).

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 for the oil and gas properties, a separate value of $110 million was also erroneously recorded for

 acquired fixed assets, such as facilities and pipelines ancillary to the oil and gas reserves, as

 Boyd had double-counted the value of the fixed assets. In total, Miller Energy materially

 misstated the value of the Alaska Assets by approximately $479 million. The fixed assets

 were the same operating assets expected to generate future cash flows discussed in the RE Davis

 reserves report and should not have been separately valued.6

                Thereafter, Miller Energy continued to tout the success and value of the Alaska

 Assets, periodically issuing releases placing increasingly greater values on those oil and gas

 reserves.



                Indeed, over the next several years, although the value of the fixed assets was re-

 categorized into the oil and gas properties category, the overall value of the Alaska Assets not

 only remained fraudulently inflated, but that inflation actually increased.

                The SEC subsequently found that Miller Energy’s financial reports for Forms 10-

 Q for the third quarter of fiscal year 2010 and for the first three quarters of fiscal years 2011

 through 2015; Forms 10-K for fiscal years ended 2010 through 2014; the Form S-1 filed on

 August 8, 2010; Forms S-3 filed on September 6, 2012 and October 5, 2012; and prospectuses

 filed between August 25, 2010 and August 20, 2014 pursuant to Rule 424, all “materially

 misstated the value of its assets.” KPMG Order at 5.

                It is difficult to overstate the importance of the Alaska Assets to Miller Energy.

 Upon its acquisition, Miller Energy’s balance sheet increased by more than 5,000%, and


      6
       The Company also reported an after-tax $277 million “bargain purchase gain,” which
 boosted its reported net income for the quarter to $272 million – an enormous increase over the
 $556,097 loss reported for the same period the year before.

                                                 16
 2275770.3
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                                   3210
 thereafter the Alaska Assets represented 95% of Miller Energy’s reported assets.              Miller

 Energy’s stock price was similarly impacted. On the date of the acquisition, December 10, 2009,

 Miller Energy’s common stock closed at $0.61 per share. By March 31, 2010, it had increased

 982%, to $6.60 per share. Shortly thereafter, Miller Energy’s common stock began trading on

 NASDAQ. A year later, it began trading on the NYSE, where it reached an all-time high on

 December 9, 2013 of $8.83 per share.

                  Analyst coverage confirms how critical the Alaska Assets were to Miller Energy.

 For example, shortly after Miller Energy’s acquisition and valuation of the Alaska Assets,

 Wunderlich Securities analysts Jason Wangler and Neal Dingmann stated on June 21, 2010: “We

 believe Miller pulled off a coup last year when the Alaskan assets were purchased for just $5

 million,” and citing as “Key Points” the facts that the “Alaska acquisition [was] literally a steal,”

 and that there was “[a]mazing Alaskan production upside potential.” They also stated that “We

 believe now is an ideal entry point to purchase Miller common stock, all else being equal, as the

 company has established a strong position in Alaska through a recent acquisition to complement

 its Tennessee producing properties.”

                  Similarly, on September 23, 2010, Caris & Company analyst Ann Kohler also

 cited the Alaska Assets as a driving factor, calling it a “transformational acquisition.”

                  On January 11, 2011, SunTrust’s Robinson Humphrey stated that, “The Alaskan

 properties appear key given significant development and exploration opportunities.”

                  On November 27, 2012, MLV & Co LLC analyst Kim Pacanovsky also cited the

 fact that “Miller Energy made a once-in-a-lifetime firesale purchase of Alaskan assets” as the

 primary basis for MLV’s investment thesis.

             D.   Miller Energy Hires KPMG as its Independent Public Auditor



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                                   3211
                  Under pressure from its shareholders, at the end of calendar year 2010, Miller

 Energy began to research and interview new independent auditing firms. Boyd interviewed three

 of the Big Four accounting firms, and recommended KPMG to the Company’s Audit Committee.

 According to Boyd, KPMG represented to Miller Energy that “they were experts in the field in

 valuing oil and gas assets.” Boyd, p. 60.7

                  On February 1, 2011, Miller Energy replaced its independent audit firm with

 KPMG. KPMG staffed the engagement with personnel principally from its Atlanta, Georgia and

 Knoxville, Tennessee offices.

                  The KPMG engagement team was led by Riordan and two senior managers.

 Riordan and one of the two senior managers on the three-person audit team had no oil and gas

 industry experience.

                  KPMG knew that Boyd had no experience in the oil and gas sector. According to

 sworn testimony from Boyd, he:

                  [T]old John (Riordon) [of KPMG] . . . ‘I want you to invoke your
                  oil and gas division and take a look at our books, and especially the
                  transaction, the Alaska transaction, and make it right . . . If there’s
                  something wrong with these numbers, I want to know now so I can
                  lower them or raise them.’

             E.   The SEC Begins Investigating and Public Concerns Arise Regarding the
                  Valuation of the Alaska Assets

                  On April 14, 2011, the SEC sent a letter to Miller Energy asking for detailed

 information about the December 10, 2009 acquisition of the Alaska Assets and the reported

 value of the associated reserves, including “who performed the valuation of these reserves” and

 “a detailed analysis of how the value of each component of acquired reserves was determined.”


      7
      Citations to “Boyd, p. __” are to pages of a transcript of sworn testimony given by Boyd
 on May 18, 2016.

                                                    18
 2275770.3
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                                   3212
 On June 7, 2011, the SEC sent another letter inquiring as to how Miller Energy’s executives had

 managed to estimate the value of the Cook Inlet oilfields, considering the fact that the previous

 owner had disbanded its accounting staff long before the sale and the wells had been dormant –

 some unusable – for a period of months in what was commonly known to be a “high operating

 cost area.”

                  Shortly thereafter, Miller Energy provided KPMG with copies of these letters.

 Although KPMG had not yet even completed its audit of the valuations being questioned by the

 SEC, it helped Miller Energy defend its valuation of the Alaska Assets to the SEC by, among

 things, drafting answers to the SEC’s questions.

                  On July 28, 2011, analysts from TheStreetSweeper, a financial website, published

 an investigative report on Miller Energy, claiming that the Company had grossly exaggerated the

 value of the Alaska Assets. The report stated that the assets were actually worth between $25

 million and $30 million, offset by $40 million of liabilities.8 The article quoted Jordan “Digger”

 Smith, an experienced oilman who managed energy projects for Nabors Industries (NYSE:NBR)

 – a $7.6 billion energy giant that had earlier declined to purchase the Alaska Assets,9 who stated:

 “That deal had been on the Street for over a year; everybody and their brother had looked at it.”

 “I’m a geologist,” said Smith, “with 54 years of experience, and I can’t see how anybody can

 write that up on their books for $350 million . . . . There are not $350 million worth of assets

 there.”

                  Responding, Boruff publicly defended the Company’s valuations and financial

 reports. On August 1, 2011, in an open letter to shareholders, he disputed the accuracy of the


      8
      Melissa Davis & Janice Shell, “Miller Energy: This Hot ‘Alaska’ Stock May Be About to
 Melt (Part 1), SEEKING ALPHA: THE STREET SWEEPER (July 28, 2011).
      9
          Nabors Industries was audited by KPMG.

                                                   19
 2275770.3
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                                   3213
 TheStreetSweeper report, stating that his Company “consulted extensively with independent third

 parties in order to fairly and reliably value” the Alaskan subsidiary.

             F.   The Inflated Valuation of the Alaska Assets Leads to an Unprecedented
                  Period of Growth for Miller Energy

                  Throughout the Class Period, the false valuation of the Alaska Assets enabled

 Miller Energy to overstate assets on its balance sheet by at least $479 million—or between 266%

 and 1,696%, depending on the year—and overstate shareholders’ equity by at least $267 million,

 or between 1,088% and 1,880%, depending on the year. This made the Company appear larger,

 cumulatively more profitable, and inherently less risky to the investing public.

                  The newly-booked value of the Alaska Assets resulted in a nearly 5,000%

 increase in Miller Energy’s total assets, and significantly impacted the price of its common

 stock.10

                  In 2012, the Company announced its shares would be traded on the New York

 Stock Exchange. Boruff declared, “this milestone marks an important step in our ongoing

 growth efforts by raising the profile of the company within its industry.” After moving to the

 NYSE, Miller Energy stock reached an all-time high price on December 9, 2013 of $8.83 per

 share and achieved a market capitalization of $393 million.

             G.   KPMG’s Critical Role in yhe Miller Energy “House Of Cards” and its GAAS
                  and PCAOB Violations

                  KPMG issued audit reports containing unqualified opinions on Miller Energy’s

 annual financial statements for fiscal years 2011 through 2014.          Those audit reports were




      10
       On December 10, 2009, the date of the purchase, Miller Energy’s common stock closed at
 a price of $0.61 per share. Following the acquisition, the price of the Company’s common stock
 soared 93%, increasing in two days from $0.70 per share to a closing price of $1.35 per share.

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 2275770.3
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                                   3214
 included in Miller Energy’s Form 10-K filings that contained materially inflated asset values for

 the Company’s oil and gas properties.

                KPMG also provided review services related to Miller Energy’s quarterly

 financial statements beginning in the third quarter of 2011. During the third quarter of 2011

 review and fiscal 2011 audit, the value of the Alaska Assets recorded by Miller Energy was

 substantially the same as the $480 million value initially reported by Miller Energy following the

 acquisition of those assets in December 2009.

                As set forth below, KPMG knowingly or recklessly abdicated its responsibilities

 in connection with its audits of Miller Energy’s financial statements for fiscal years 2011 through

 2014. Had KPMG conducted its audits in compliance with GAAS and PCAOB standards, it

 would have discovered Miller Energy’s fraud. By issuing “clean opinions” for the 2011-14

 fiscal years, KPMG knowingly or recklessly disregarded significant material weaknesses in the

 Company’s internal controls, specifically internal controls relating to the way the Company

 valued the Alaska Assets, as described herein.

                Overview of GAAS Requirements

                Generally Accepted Auditing Standards, or GAAS, are established by the

 American Institute of Certified Public Accountants (“AICPA”), of which Defendant KPMG is a

 member. Under the categorization set forth by the AICPA, there are three categories of auditing

 standards: (1) “General Standards”; (2) “Standards of Field Work”; and (3) “Standards of

 Reporting.” Since 2002, as a result of the Sarbanes-Oxley Act, the Public Company Accounting

 Oversight Board (“PCAOB”) has been responsible for adopting auditing standards for public

 companies.    The PCAOB initially adopted AICPA’s GAAS as interim standards.                These

 standards set the minimum level of performance and quality that auditors are expected to

 achieve.

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                                   3215
                 GAAS is comprised of ten basic standards (the “General Standards”) that

 establish the quality of an auditor’s performance and the overall objectives to be achieved in a

 financial statement audit. Auditors are required to follow those standards in each and every audit

 they conduct.

                 The General Standards require, among other things, that the auditor has adequate

 technical training, is independent, and conducts the audit with due professional care, which

 requires that the auditor exercise professional skepticism. The auditor also has the responsibility

 to plan and perform the audit to obtain reasonable assurance that the financial statements are free

 of material misstatement, whether caused by error or fraud.

                 The Field Work Standards require, among other things, that an auditor properly

 plan the audit, obtain a sufficient understanding of the entity’s business and operating

 environment, including its internal controls to determine the nature, timing and extent of tests to

 be performed and to obtain sufficient evidential matter to afford a reasonable basis for an opinion

 regarding the financial statements under audit.

                 Finally, the Reporting Standards require that an auditor express an opinion on the

 financial statements of a company taken as a whole, or an assertion to the extent that an opinion

 cannot be expressed.

                 As set forth below, throughout the Class Period, KPMG repeatedly and materially

 violated GAAS in each of its audits, failed to properly plan and perform its audits to obtain

 reasonable assurance that Miller Energy’s financial statements were free of material

 misstatements, and, therefore, had no basis on which to state that Miller Energy’s financial

 statements were presented in conformity with GAAP.

                 KPMG Failed to Properly Risk Assess the Miller Energy Engagement



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                                   3216
                  The PCAOB’s quality control standards require, among other things, that at the

 outset of an engagement, an accounting firm establish policies and procedures for deciding

 whether to accept or continue a client relationship and whether to perform a specific engagement

 for that client. QC 20.14.11 They also require, among other things, that audit firms establish

 policies and procedures to provide reasonable assurance that each firm appropriately considers

 the risks associated with providing professional services in the particular circumstances. See QC

 20.14-.15.

                  Throughout the Class Period, KPMG’s failed to adequately assess the significant

 risks associated with the Miller Energy engagement. According to the SEC, among other things,

 KPMG failed to adequately consider Miller Energy’s bargain purchase, its recent history as a

 penny-stock company, its lack of experienced executives and qualified accounting staff, its

 existing material weaknesses in internal control over financial reporting, its long history of

 reported financial losses, and its pressing need to obtain financing to operate the newly acquired

 Alaska Assets.

                  For example, KPMG knew that Miller Energy’s CEO, Boruff, lacked experience

 running a company, lacked experience in the oil and gas industry, and lacked experience meeting

 the substantial requirements of a publicly-traded company. Similarly, KPMG knew that Miller

 Energy’s CFO, Boyd, was previously the CFO of a failed local company, Idle-Aire, his prior

 employment experience was in the banking industry, and although he was a CPA, he lacked

 significant auditing experience. Indeed, according to Boyd, KPMG knew from the beginning of

 its Miller Energy engagement that Boyd had no experience in the oil and gas industry:



      11
       Citations to “QC __” are to the numbering system for the quality control standards
 adopted by the PCAOB.

                                                 23
 2275770.3
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                                   3217
                   Question:    So when you hired KPMG, you expressed to them that
                                you weren’t-one, that you really had no experience in oil
                                and gas?

                   Answer:      Oh, they knew that. They knew that completely.

 Boyd, p. 59.

                   KPMG also knew that Miller Energy’s accounting department was inadequately

 staffed, consisting primarily of Boyd and two part-time clerical staff, and lacked any internal

 audit function.

                   Further, according to Boyd, KPMG knew “pretty much right away” that Miller

 Energy had made a significant mistake in its valuation of the critical Alaska Assets:

                   Question:    Did they ever catch the mistake you made?

                   Answer:      Yes, they did, pretty much right away. They said, where
                                did you get your number, Paul? And I showed them the
                                report. And they said, you should have had the NYMEX
                                report. And so I ordered a NYMEX report.

 Boyd, p. 62.

                   In addition, from the very start of its engagement with Miller Energy, KPMG

 knew that Miller Energy needed to late-file its January 31, 2011 Form 10-Q, and to restate its

 First and Second Quarter 2011 10-Qs due to errors. Specifically, during those two quarters, the

 Company failed to properly accrete their asset retirement obligations; to properly record

 depletion, depreciation, and amortization expenses related to leasehold costs, wells and

 equipment, fixed assets and asset retirement obligations; or to record the state tax credits

 expected from its Alaska operations.

                   Similarly, KPMG knew that Miller Energy’s Forms 10-K for the fiscal years

 ending in April 2011 through April 2014 consistently reported material internal control

 weaknesses and ineffective internal controls over financial reporting.


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Case 3:16-cv-00121-TAV-DCP Document 59 Filed 09/15/17 Page 27 of 120 PageID #:
                                   3218
             Miller Energy’s Form 10-K for the year-ended April 30, 2011, states:

             We do not maintain a sufficient complement of personnel with an
             appropriate level of accounting knowledge, experience and training
             in the selection and application of U.S. GAAP and SEC reporting
             requirements commensurate with our financial reporting
             requirements.

             We do not maintain sufficient policies, procedures and controls to
             prevent and/or detect material misstatements in our financial
             statements.

             As a result of the above material weaknesses, material adjustments
             to the Company’s consolidated financial statements were required
             for each of the Company’s reported quarterly and annual periods in
             fiscal 2011

             ***

             However, since management has not completed its assessment, we
             cannot provide assurance that the material weaknesses described
             above constitute a complete list of deficiencies. Had management
             completed its assessment, additional internal control weaknesses as
             of April 30, 2011 may have been detected. In addition, because
             management did not complete its assessment, our independent
             registered public accounting firm was unable to render an opinion
             on the effectiveness of our internal control over financial reporting.

             Miller Energy’s Form 10-K for the year-ended April 30, 2012 states:

             Management identified the following material weakness in the
             Company’s internal control over financial reporting as of April 30,
             2012:

             We did not maintain a sufficient complement of corporate
             accounting and finance personnel necessary to consistently operate
             management review controls. As a result of this material weakness,
             we made a number of adjustments in connection with our financial
             statement audit in order to prepare the consolidated financial
             statements and footnotes included in this Form 10-K. Additionally,
             there is a reasonable possibility that a material misstatement of the
             Company’s annual or interim consolidated financial statements
             would not be prevented or detected on a timely basis. As a result of
             this material weakness, the Company’s management has concluded
             that, as of April 30, 2012, its internal control over financial
             reporting was not effective based on criteria established in Internal
             Control–Integrated Framework issued by the COSO.


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 2275770.3
Case 3:16-cv-00121-TAV-DCP Document 59 Filed 09/15/17 Page 28 of 120 PageID #:
                                   3219
             KPMG’s July 16, 2012 audit report of Miller Energy’s internal controls states:

             In our opinion, because of the effect of the aforementioned
             material weakness on the achievement of the objectives of the
             control criteria, the Company has not maintained effective internal
             control over financial reporting as of April 30, 2012, based on the
             criteria established in Internal Control – Integrated Framework
             issued by the COSO.

             Miller Energy’ Form 10-K for the year-ended April 30, 2013 states:

             Management identified the following material weakness in the
             Company’s internal control over financial reporting as of April 30,
             2013:

             We did not maintain a sufficient complement of corporate
             accounting and finance personnel necessary to consistently operate
             management review controls. This material weakness resulted in
             numerous material adjustments to the preliminary financial
             statements that were corrected prior to their issuance.

             As a result of this material weakness, the Company’s management
             has concluded that, as of April 30, 2013, its internal control over
             financial reporting was not effective based on criteria established
             in Internal Control-Integrated Framework issued by the COSO.

             KPMG’s July 15, 2013 audit report of Miller Energy’s internal controls states:

             In our opinion, because of the effect of the aforementioned
             material weakness on the achievement of the objectives of the
             control criteria, the Company has not maintained effective internal
             control over financial reporting as of April 30, 2013, based on the
             criteria established in Internal Control - Integrated Framework
             issued by the COSO.

             KPMG’s July 15, 2013 audit report of Miller Energy’s financials states:

             We also have audited, in accordance with the standards of the
             Public Company Accounting Oversight Board (United States),
             Miller Energy Resources, Inc.’s internal control over financial
             reporting as of April 30, 2013, based on criteria established in
             Internal Control - Integrated Framework issued by the Committee
             of Sponsoring Organization of the Treadway Commission
             (COSO), and our report dated July 15, 2013 expressed an adverse
             opinion on the effectiveness of the Company’s internal control
             over financial reporting.



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                                   3220
             Management identified the following material weakness in the
             Company’s internal control over financial reporting as of April 30,
             2014:

             We did not maintain a sufficient complement of corporate
             accounting and finance personnel necessary to consistently operate
             management review controls. This material weakness resulted in
             numerous material adjustments to the preliminary financial
             statements that were corrected prior to their issuance.

             As a result of this material weakness, the Company’s management
             has concluded that, as of April 30, 2014, its internal control over
             financial reporting was not effective based on criteria established
             in Internal Control- Integrated Framework (1992) issued by the
             COSO.

             Miller Energy’ Form 10-K for the year-ended April 30, 2014 states:

             Management identified the following material weakness in the
             Company’s internal control over financial reporting as of April
             30, 2014:

             We did not maintain a sufficient complement of corporate
             accounting and finance personnel necessary to consistently operate
             management review controls. This material weakness resulted in
             numerous material adjustments to the preliminary financial
             statements that were corrected prior to their issuance.

             As a result of this material weakness, the Company’s management
             has concluded that, as of April 30, 2014, its internal control over
             financial reporting was not effective based on criteria established
             in Internal Control - Integrated Framework (1992) issued by the
             COSO.

             KPMG’s July 14, 2014 audit report of Miller Energy’s internal controls states:

             In our opinion, because of the effect of the aforementioned
             material weakness on the achievement of the objectives of the
             control criteria, the Company has not maintained effective internal
             control over financial reporting as of April 30, 2014, based on the
             criteria established in Internal Control - Integrated Framework
             (1992) issued by the COSO.

             KPMG’s July 14, 2014 audit report of Miller Energy’s financial statements states:

             We also have audited, in accordance with the standards of the
             Public Company Accounting Oversight Board (United States),


                                             27
 2275770.3
Case 3:16-cv-00121-TAV-DCP Document 59 Filed 09/15/17 Page 30 of 120 PageID #:
                                   3221
                Miller Energy Resources, Inc.’s internal control over financial
                reporting as of April 30, 2013, based on criteria established in
                Internal Control-Integrated Framework (1992) issued by the
                Committee of Sponsoring Organization of the Treadway
                Commission, and our report dated July 14, 2014 expressed an
                adverse opinion on the effectiveness of the Company’s internal
                control over financial reporting.

                KPMG also knew that Miller Energy failed to comply with listed-company NYSE

 rules. In a Form 8-K, filed March 30, 2011, Miller Energy disclosed that it would be moving

 from NASDAQ to the NYSE, effective April 12, 2011, necessitating the formation of an Internal

 Audit Group one year after the NYSE listing. That group was never established.

                Despite all of these significant risks and issues, KPMG accepted Miller Energy as

 a client and, according to the SEC, incorrectly designated it as a “low” risk client. Further, based

 on the information in the initial evaluation, KPMG assigned the Miller Energy engagement an

 overall risk grade of “medium,” which was not reevaluated and changed to “high” until after

 KPMG issued its unqualified opinion on the Company’s fiscal 2011 financial statements.

                KPMG Failed to Ensure Adequate Personnel Management, Competency
                and Proficiency on the Miller Energy Engagement

                PCAOB Quality Control Standards require an auditing firm to establish policies

 and procedures which provide the firm with reasonable assurance that work is assigned to

 personnel having the degree of technical training and proficiency required in the circumstances.

 See QC 20.13 and QC 40.02. These standards also state that firms should establish policies and

 procedures providing reasonable assurance that the practitioner-in-charge of an engagement

 possesses the competencies necessary to fulfill his or her engagement responsibilities (QC

 40.06), and that practitioners in-charge of an engagement possess an understanding of the

 industries in which their clients operate. See QC 40.08. When the client’s business involves




                                                 28
 2275770.3
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                                   3222
 unique and complex accounting, as in the case of the oil and gas industry, the need for the

 engagement partner to understand the client’s industry is even more critical.

                In addition, PCAOB auditing standards require that the audit be performed by “a

 person or persons having adequate technical training and proficiency as an auditor.” AU §

 210.01.12 Similarly, PCAOB quality control standards require that, “[p]olicies and procedures

 should be established to provide the firm with reasonable assurance that the work performed by

 engagement personnel meets applicable professional standards, regulatory requirements, and the

 firm’s standards of quality.” QC 20.17. Firm policies and procedures should also provide

 reasonable assurance that the policies and procedures established for the elements of quality

 controls described in the standard are “suitably designed and are being effectively applied.” QC

 20.20; see also AU § 161.

                Throughout the Class Period, KPMG’s failed to comply with these requirements.

 According to the SEC, KPMG did not have in place specific policies requiring an assessment of

 the engagement partner’s competencies in the circumstances. Further, KPMG’s client acceptance

 procedures failed to adequately address the audit team’s lack of industry experience. Although a

 client acceptance evaluation form completed by Riordan noted that the assigned engagement

 partner and senior manager had no prior experience with oil and gas companies like Miller

 Energy, it stated that there were no concerns regarding the overall skills and experience of the

 engagement team. Notably, however, KPMG falsely told Miller Energy that it, and Riordan and

 Bennett specifically, were highly experience in the oil and gas industry:


      12
         Citations to “AU § __” and “AS No. __” are to a numbering system for auditing standards
 in effect prior to 2015. In 2015, the PCAOB revised the numbering system for auditing
 standards, but did not “change the substance of the requirements,” and was “intended to improve
 the usability of the Board’s standards.”    See
 https://pcaobus.org/Rulemaking/Docket040/Release_2015_002_Reorganization.pdf.

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                 Question:     Did they (KPMG) have oil and gas experience?

                 Answer:       Oh, yeah. Yeah. They were – KPMG is the – I don’t – I
                               think maybe they’re the smallest of the Big 4, but they’re
                               still huge. And I think they had the most oil and gas
                               experience of any of the Big 4. They had, you know,
                               most of the bigger companies.

                 Question:     But did John (Riordan) and Sam (Bennett) say they had
                               oil and gas experience? Personally.

                 Answer:       They said that they had other clients that were oil and gas
                               companies, and that the KPMG had an entire division.
                               So, like, 100 people in it concentrated on nothing else but
                               oil and gas. And they were experts in the field in valuing
                               oil and gas assets. And I said, that’s perfect.

  Boyd, p. 59.

                 Consequently, according to the SEC, KPMG assigned to the engagement team

 personnel who had insufficient expertise to appropriately address the risks presented by Miller

 Energy. Riordan lacked the necessary experience to serve as the partner-in-charge of the

 engagement, resulting in departures from professional standards. In light of the high degree of

 risk associated with the Miller Energy engagement and the unusual bargain purchase transaction

 of the Alaska Assets in 2009, KPMG should not have assigned a partner-in-charge who had no

 experience auditing companies in the oil and gas industry.

                 KPMG Failed to Properly Plan the Miller Energy Audits

                 AU § 311, Planning and Supervision, requires that in order to properly plan an

 audit, an auditor obtain a level of knowledge of its clients’ business sufficient to enable it to

 “obtain an understanding of the events, transactions, and practices that, in his judgment, may

 have a significant effect on the financial statements.” AU § 311.06. In planning an audit,

 PCAOB standards state that an auditor should consider the nature, extent and timing of work to

 be performed in planning the audit and should prepare a written audit program which sets forth



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 in reasonable detail the audit procedures necessary to accomplish the audit objectives. AU §

 311.05.     Auditors must also consider audit risk and materiality in planning the audit and

 designing audit procedures. AU § 312.12. In doing so, they should plan the audit so that audit

 risk will be limited to a low level appropriate for expressing an opinion on the financial

 statements. AU § 312.13. Auditors are also required to consider identified significant risks of

 material misstatement of the financial statements in: (1) determining the nature, timing or extent

 of procedures; (2) assigning staff; or (3) requiring appropriate levels of supervision. AU §

 312.17.

                 KPMG failed to properly plan its Miller Energy audits. Specifically, according to

 the SEC, KPMG failed to adequately plan the work relating to the Alaska Assets, including the

 work to be performed by a unit within KPMG known as “Economic and Valuation Services”

 (“EVS”) and the core engagement team’s review of EVS’s conclusions. For example, prior to

 EVS beginning its testwork, KPMG gave insufficient consideration to the nature and scope of

 the specialists’ work, as well as the extent of the specialists’ involvement. This was contrary to

 KPMG policies requiring the effective delineation of the responsibilities between the core

 engagement team and the KPMG specialists. There was no agreement at the onset of the

 valuation testwork concerning who was specifically responsible for the significant assumptions

 in Miller Energy’s valuation. In addition, on several important issues, such as the consideration

 of observable inputs and the accounting treatment for the fixed assets, there was no agreement

 regarding the respective roles and responsibilities of EVS and the core engagement team.

                 In addition, when developing its audit strategy and audit plan, KPMG failed to

 properly evaluate Miller Energy’s internal control deficiencies, including the ineffectiveness of

 the Company’s internal controls over financial reporting. AS No. 9 par. 7. Had KPMG properly



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 evaluated Miller’s internal control deficiencies, they would have been required to extend or

 modify their audit tests. AU § 311.03.

                KPMG Failed to Adequately Assess Whether Miller Energy’s Valuation of
                the Alaska Assets Conformed with GAAP

                GAAP are those principles recognized by the accounting profession as the

 conventions, rules, and procedures that define accepted accounting practice at a particular time.

 As set forth in Financial Accounting Standards Board (“FASB”) Statement of Financial

 Accounting Concepts (“Concepts Statement”) No. 1, one of the fundamental objectives of

 financial reporting is that it provides accurate and reliable information concerning an entity’s

 financial performance during the period being presented. American Institute of Certified Public

 Accountants (“AICPA”) Concepts Statement No. 1, ¶42 states:

                Financial reporting should provide information about an
                enterprise’s financial performance during a period. Investors and
                creditors often use information about the past to help in assessing
                the prospects of an enterprise. Thus, although investment and
                credit decisions reflect investors’ and creditors’ expectations about
                future enterprise performance, those expectations are commonly
                based at least partly on evaluations of past enterprise
                performance.

                Regulation S-X (17 C.F.R. §210.4-01(a)(1)) states that financial statements filed

 with the SEC that are not prepared in conformity with GAAP are presumed to be misleading and

 inaccurate.

                AU § 328 requires auditors to obtain sufficient competent audit evidence to

 provide reasonable assurance that fair value measurements and disclosures are in conformity

 with GAAP. AU § 328.03, Auditing Fair Value Measurements and Disclosures. The standard

 provides that, “[t]he auditor should test the data used to develop the fair value measurements and

 disclosures and evaluate whether the fair value measurements have been properly determined

 from such data and management’s assumptions.” This includes, “whether the data on which the

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 fair value measurements are based, including the data used in the work of a specialist, is

 accurate, complete and relevant . . . .” AU § 328.39. In addition, “[t]he auditor should evaluate

 the sufficiency and competence of the audit evidence obtained from auditing fair value

 measurements and disclosures as well as the consistency of that evidence with other audit

 evidence obtained and evaluated during the audit.” AU § 328.47; see also AU § 342.07 (the

 auditor’s objective is, inter alia, to obtain sufficient competent evidential matter to provide

 reasonable assurance the accounting estimates are presented in conformity with applicable

 accounting principles). If a valuation model is used, the auditor reviews the model and evaluates

 whether the assumptions used are reasonable. AU § 328.40.

                According to the SEC, KPMG failed to obtain sufficient competent audit evidence

 to provide reasonable assurance that Miller Energy’s fair value measurements and disclosures

 relating to the Alaska Assets were in conformity with GAAP, and that management’s accounting

 estimates were reasonable in the circumstances.

                ASC 820 defines fair value as the price that would be received to sell an asset or

 paid to transfer a liability in an orderly transaction between market participants at the

 measurement date.     ASC 820 establishes a fair value hierarchy that distinguishes between

 observable inputs, i.e., those inputs that reflect the assumptions market participants would use in

 pricing the asset or liability based on market data obtained from sources independent of the

 reporting entity, and unobservable inputs, i.e., inputs that reflect the reporting entity’s own

 assumptions about the assumptions market participants would use in pricing the asset or liability

 developed based on the best information available in the circumstances. Under ASC 820, the use

 of unobservable inputs should be minimized in favor of observable inputs whenever possible.




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                  As part of its procedures to obtain sufficient competent evidence to assess the

 impact of the opening balance of the Alaska Assets on the current period’s financial statements,

 KPMG was required to review and understand how Miller Energy estimated the fair value that

 was ultimately recorded in its financial statements. AU § 342, provides that, “[i]n evaluating

 reasonableness, the auditor should obtain an understanding of how management developed the

 estimate.” AU § 342.10; see also AU § 328.09 (“The auditor should obtain an understanding of

 the entity’s process for determining fair value measurements . . . .”). Similarly, KPMG’s policies

 required its engagement teams to “obtain an understanding” of “the requirements of the

 applicable financial reporting framework relevant to accounting estimates” and “how

 management makes the accounting estimates, and an understanding of the data on which they are

 based . . . .”

                  According to the SEC, KPMG failed to obtain a sufficient understanding of the

 Company’s fair value measurement and to appropriately consider observable inputs relating to

 Miller Energy’s acquisition of the Alaska Assets as part of their procedures relating to the impact

 of the opening balances. Although the prior owner sold the Alaska Assets while in bankruptcy,

 there were several facts suggesting that the sale price and history should have been considered in

 determining the fair value of those assets. These facts included the extensive, but ultimately

 unsuccessful, marketing efforts (which occurred during part of a roughly year-long period when

 the assets were made available for sale), the subsequent and ultimately unsuccessful purchase

 offers for the assets (each of which was for less than $10 million), the bankruptcy court-approved

 abandonment of the assets (which relieved the prior owner of substantially all financial

 obligations for the assets), and Miller Energy’s acquisition of the Alaska Assets in a competitive

 auction for a fraction of Miller Energy’s recorded value. In addition, a review of the bankruptcy



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 records also would have revealed evidence, such as the facts contrary to the Company’s nearly

 half-billion-dollar asset valuation. All of these facts were readily ascertainable from the publicly

 available bankruptcy records of the prior owner of the Alaska Assets.

                  According to the SEC, KPMG also failed to appropriately assess the assumptions

 underlying the reserve report and the insurance report which Miller Energy used in its estimation

 of the fair value of the Alaska Assets. KPMG knew that the two reports the Company used to

 support its fair value determination for the Alaska Assets were not appropriate for ascertaining

 fair value and knew that using the assumptions in the reserve report for fair value purposes was

 inappropriate.

                  AU § 336 provides guidance to auditors when they seek to use the work of a

 specialist as evidential matter to support financial statement assertions. Among other items, the

 standard requires the auditor to evaluate the professional qualifications of the specialist to

 determine that he or she possesses the necessary skill and knowledge in the type of work under

 consideration. See AU § 336.08. It also provides that the auditor should obtain an understanding

 of the nature, scope, and objectives of the work performed by the specialist, including the

 appropriateness of using the specialist’s work for the intended purpose. See AU § 336.09. In

 addition, AU § 336.12 states that an auditor should evaluate the appropriateness and

 reasonableness of the specialist’s methods and assumptions by: (a) obtaining an understanding of

 those methods and assumptions; (b) making appropriate tests of data provided to the specialist;

 and (c) evaluating whether the specialist’s findings support the related assertions in the financial

 statements.

                  Despite the fact that KPMG knew that the insurance broker was not an expert,

 KPMG’s workpapers refer to the insurance broker as “a third party valuation specialist” that



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 “performed the appraisal of the fixed assets.” Other workpapers also list the insurance broker

 among the “specialists” whose work KPMG used as audit evidence and note that “EVS

 concluded that the methodologies used and conclusions reached by [the insurance broker] were

 reasonable.” KPMG, however, had no information – other than the Company’s representations –

 about the insurance broker’s methodology. The insurance report Miller Energy used for the

 fixed assets contained no description of any methodology, and KPMG never contacted the

 insurance broker to ascertain its supposed methodology.

                Under these circumstances, where management used as fair value numbers from

 reports that were known by KPMG to have been prepared for other purposes, KPMG was

 unreasonable in applying certain limited procedures to Miller Energy’s fair value estimate and

 then issuing an unqualified opinion on the Company’s financial statements based on those

 procedures.

                As a result of the conduct described above, KPMG failed to comply with these

 professional standards in connection with testing Miller Energy’s fair value assertions for the

 Alaska Assets. KPMG departed from AU § 328 by, among other things, failing to sufficiently

 evaluate the reasonableness of management’s assumptions and by failing to test the reliability of

 the information used in the preparation of the reports used for valuing the properties. KPMG

 also departed from AU § 336 by, among other things, failing to appropriately test the data

 provided to the specialists.

                KPMG Failed to Obtain Sufficient Competent Evidence Regarding the
                Assumptions on Which Miller Energy’s Valuation of the Alaska Assets Was
                Based

                In assessing a company’s fair value of assets, auditors are required, at a minimum

 to understand the client’s assumptions and to determine whether the data on which the fair value



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 measurement is based is accurate, complete, and relevant. See AU § 328.40. As set forth below,

 KPMG’s procedures failed to comply with professional standards.

                In addition, under AU § 315.12, a “successor auditor must obtain sufficient

 competent evidential matter to afford a reasonable basis for expressing an opinion on the

 financial statements he or she has been engaged to audit.” Obtaining audit evidence to analyze

 the impact of the opening balances on the current-year financial statements may include applying

 appropriate auditing procedures to account balances at the beginning of the period under audit

 and to transactions in prior periods. Id. “Evidential matter” includes the underlying accounting

 data and all corroborating information available to the auditor.            AU § 326.15.   To be

 “competent,” evidence must be both valid and relevant. AU § 326.21. For it to be “sufficient,”

 the evidence must be “persuasive.” AU § 326.22. In evaluating evidential matter, the auditor

 must consider whether the specific audit objectives have been achieved. AU § 326.25. In doing

 so, he or she makes an “unbiased” evaluation and considers “relevant evidential matter

 regardless of whether it appears to corroborate or to contradict the assertions in the financial

 statements.” Id. If there is substantial doubt, the auditor must refrain from forming an opinion

 until additional evidential matter can be obtained to remove such doubt, or the auditor must

 express a qualified opinion or a disclaimer of opinion. Id.

                As discussed below, KPMG and Riordan failed to obtain sufficient competent

 evidence supporting the assertions in Miller Energy’s fiscal 2011 – 2014 financial statements

 concerning the fair value and fixed assets of the acquired Alaska Assets.

                          i.   The Oil and Gas Reserves

                In fiscal 2010, Miller Energy improperly recorded $368 million as the fair value

 of Miller Energy’s oil and gas reserves. The $368 million value was taken directly from a reserve

 report that was prepared by a third-party petroleum engineer firm using the guidelines for

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 supplemental oil and gas disclosures. The reserve report expressly stated that it did not contain

 an opinion of fair value. Although this reserve report was created by a third- party engineer firm,

 it incorporated assumptions provided by the Company.

                KPMG’s internal valuation specialists, EVS, did not consider all of the significant

 assumptions Miller Energy used in the reserve report. In the memorandum memorializing its

 work, EVS admitted that an evaluation of oil and gas properties using the income approach

 consists of twelve inputs, including, among other things, the production forecast, future oil and

 gas prices, lease operating expenses, SG&A expenses, taxes, capital expenditures, the discount

 rate, and risk weightings. As part of its procedures, however, EVS considered only three of the

 Company’s assumptions for these inputs (the discount rate, risk weightings, and future oil

 prices). Notably, EVS found that each of the three assumptions was erroneous and inappropriate

 for fair value purposes. Specifically, the reserve report: (1) used a 10% discount rate that KPMG

 concluded was inappropriate under the circumstances for fair value; (2) failed to apply any risk

 weighting to even the most speculative categories of reserves, which was also improper for fair

 value purposes; and (3) failed to appropriately estimate future oil prices and instead used a flat

 price in all years of approximately $61 per barrel. Given that the reserve report was prepared

 using a method that was not intended to estimate fair value and that all three of the assumptions

 under consideration were unreliable, KPMG should have requested additional support from

 management regarding the appropriateness of Miller Energy’s valuation, particularly since their

 procedures left other significant assumptions unevaluated.

                Instead, at the core engagement team’s request, EVS created an estimated range

 of possible fair values, using its own assumptions for some of the inputs, to assess whether

 Miller Energy’s overall fair value number was reasonable. As Boyd explained:



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               Question:   But when KPMG came on a year later, they should have
                           caught this [Miller Energy’s misuse of the RE Davis
                           report], shouldn’t they?

               Answer:     They did. When they went through to take a look at all
                           of our books, and especially the acquisition of Alaska,
                           they told me point blank, you used the wrong report to
                           value the asset. They said, but we’ve got – we’ve – you
                           need to order a new report, but we’ve got an idea from
                           our experts in our oil and gas division that it’s in the
                           ballpark; but we want you to get the correct report, the
                           NYMEX report.

               Question:   Now, right there I want to stop right there. [N]ow – the
                           local guys told you that, the local KPMG guys told you
                           that?

               Answer:     Uh-huh.

               Question:   And their – they didn’t have a new report to go by?

               Answer:     They had their internal report.

               Question:   And their own internal report was based on what?

               Answer:     I didn’t –

               Question:   You didn’t ask that?

               Answer:     I never saw a copy of that. But they had their oil and gas
                           division -

               Question:   Bless it?

               Answer:     Right. And so they must have taken a look at the
                           geology surveys and areas around our area. And I don’t
                           know what all they did, but they somehow got
                           comfortable giving that value.

               Question:   And so the crux of the whole thing is, for going forward,
                           that you relied on KPMG. If KPMG was wrong in the
                           first report, they were wrong all the way through.

               Answer:     That’s correct.

 Boyd, p. 213-14.




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                According to the SEC, EVS’s analysis did not result in sufficient competent

 evidential matter for the fair value of the Alaska Assets. To test the reasonableness of the

 Company’s fair value number, EVS used a spreadsheet software-based discounted cash flow

 template, which was populated mostly with the assumptions used in the non-fair value reserve

 report. EVS substituted its own assumptions for Miller Energy’s discount rate and future oil

 prices assumptions in the reserve report. EVS also risk weighted the reserves – a step the

 Company’s reserve report omitted. Using substitute assumptions for these three inputs (which

 included more appropriate forecasted oil prices that were significantly higher than those used by

 Miller Energy), but keeping Miller Energy’s other assumptions materially unchanged, EVS

 eventually estimated that a reasonable range of value for the oil and gas reserves was between

 $331 million and $375 million. Although the results of this analysis appeared to support Miller

 Energy’s fair value measurement, EVS’s substitute assumptions were themselves flawed and

 insufficiently substantiated.

                According to the SEC, KPMG improperly accepted EVS’s substitute assumptions

 without adequately reviewing the reasonableness of those assumptions. In some cases, the

 substitute assumptions were not appropriate. For example, in lieu of the reserve report’s 10%

 discount rate, EVS conducted multiple analyses using discount rates as low as 12% and as high

 as 17%. Ultimately, just prior to the issuance of the third quarter 2011 Form 10-Q, EVS changed

 its discount rate range to 12% to 15% from 14% to 17%. The basis for the range used was not

 adequately reviewed or documented by KPMG. Had the discount rate not been lowered, keeping

 everything else constant, EVS’s analysis would have indicated that the $368 million number was

 overstated by as much as 15%.




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                Additionally, according to the SEC, KPMG did not take appropriate steps to

 address specific indications that the Company’s valuation might be overstated due to Miller

 Energy’s use in the reserve report of underestimated future operating and capital costs. On

 March 9, 2011, EVS informed the core engagement team that portions of its own valuation

 estimate, which EVS was using to test the reliability of the client’s valuation, appeared

 anomalously high on a per barrel basis. EVS indicated that the high values it observed could

 have been the result of the forecasted expenses Miller Energy used for the proved undeveloped

 (“PUD”), probable, and possible reserves. EVS asked the core engagement team to review the

 forecasted expenses, as well as the financial forecast used in the discounted cash flow to

 determine whether it was overly optimistic. EVS reiterated its concerns to the core engagement

 team again on March 10, stating that the value numbers for “[t]he PUDs, probable and possible”

 reserves “are so high, it does not make sense . . . .” On several occasions, EVS emphasized that it

 was relying on the core engagement team to assess the reasonableness of the forecasted

 expenses.

                Despite these clear warnings, the SEC found that KPMG undertook insufficient

 procedures to assess the reliability of the forecast and estimated expenses used by Miller Energy

 to value the Alaska Assets. For example, KPMG was required to test the data used to develop

 the fair value measurement and evaluate whether the data on which the fair value measurement

 was based, including the data used in the work of a specialist, was accurate, complete, and

 relevant. See AU § 328.39. Had KPMG performed additional procedures on the cost estimates

 provided to the engineer firm, they could have identified contrary evidence indicating that the

 forecasted costs were unreasonably low. For instance, Miller Energy had in its possession

 historical expense data from the former owner. Had KPMG obtained and reviewed the available



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 historical expense data, KPMG could have discovered that the forecasted costs reflected in the

 reserve report were substantially lower than the historical expense data.

                Likewise, had KPMG compared the expense estimates used in the valuation to

 corresponding estimates created approximately one year later for use in the fiscal 2011

 supplemental oil and gas disclosures, it would have been apparent that the capital expenditures

 for some of the same wells had increased by roughly $100 million. According to the SEC,

 KPMG did not adequately identify or inquire about the reasons for this substantial increase. Had

 the substantial increase in costs been identified, KPMG would have discovered that it resulted

 mainly from increased drill cost estimates for a number of wells (from $4.6 million to over $12

 million each). Further inquiry likely would have led KPMG to discover that the higher estimated

 capital costs used in the 2011 supplemental oil and gas disclosures were consistent with historic

 data for the property and Miller Energy’s internal expense estimates dating back to 2009.

                KPMG could have considered other publically identifiable indications that the

 forecasted costs in the Company’s valuation were understated. For example, Miller Energy’s

 2011 Form 10-K stated that in 2009 the Company informed the State of Alaska that it would cost

 $31 million to restart production in one of the Alaska Assets’ two principal fields – an estimate

 that it internally increased in 2011 to $45 million. However, the original $31 million cost

 estimate was nearly double the amount of restart costs ($16.8 million) in the reserve report used

 for the valuation.

                In connection with other audit procedures, KPMG obtained a 2011 budget

 containing management’s forecast for the next several years. Had KPMG even just compared the

 forecasted costs in that budget to the forecasted costs in the February 2010 reserve report that

 was used to fair value the Alaska Assets, they could have also discovered that the budget



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 assumed significantly higher capital expenditures and significantly lower production numbers

 than those set forth in the reserve report.

                          ii.     The Fixed Assets

                According to the SEC, KPMG failed to take reasonable steps to assess Miller

 Energy’s recorded value of $110 million for certain fixed assets included in the Alaska

 acquisition. These fixed assets were the same operating assets that were expected to generate the

 future cash flows used to measure the value of the oil and gas reserves. In fact, the reserve report

 Miller Energy used for the valuation recognized the interconnectedness of the properties, as it

 listed the facilities and the offshore platform as assets used to generate the future cash flows.

 Because the fixed assets were integral to the operations of the acquired properties and the

 generation of cash flows, their values were already reflected in the reserve report’s cash flows.

 Under these circumstances, including a separate value for the fixed assets, without any

 corresponding contributory asset charge to the forecasted cash flows, resulted in improperly

 counting all or substantially all of the value of the fixed assets twice.

                The SEC found that KPMG agreed with Miller Energy’s accounting treatment for

 the fixed assets without performing sufficient procedures to obtain the necessary evidence to

 properly assess the reasonableness of that accounting treatment, and despite being aware of the

 potential double-counting.

                KPMG also had insufficient competent evidence to support the $110 million

 valuation of the fixed assets. As discussed supra, KPMG knew that the insurance broker was not

 a valuation specialist and that the insurance report was not sufficient evidential matter to support

 the value of the fixed assets.

                To corroborate the $110 million number listed in the insurance report, Miller

 Energy, at KPMG’s request, created a second estimate in 2011, without the assistance of any

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 valuation professionals. In preparing this analysis, Miller Energy adjusted its original estimates

 of the replacement costs for the various fixed assets – increasing the values for some assets and

 reducing the value of others – and made further adjustments to these replacement costs for

 depreciation and for functional obsolescence. KPMG accepted the new replacement cost values

 from this analysis as reasonable without obtaining adequate corroboration, and they did so even

 though the values were based on management’s own internal cost estimates and included miles

 of additional pipelines (representing a 175% increase in pipeline mileage from the original

 report).

                In addition, according to the SEC, KPMG’s analysis of the fixed asset valuation

 was flawed because of the circumstances surrounding the assets themselves. Due to their remote

 and desolate location, a willing buyer and seller would not have agreed on replacement cost as

 the price for these assets. This was particularly true of the underground pipelines that connected

 various oil production facilities, which – in order to value them separately – KPMG deemed as

 surplus assets that were not needed to generate the cash flows in the reserve report. Using

 management’s new numbers, KPMG estimated that replacing the pipelines on the properties

 would cost up to $46 million (or almost half the supposed value of the fixed assets). But it was

 highly unlikely that any market participant would pay $46 million for pipelines that were

 assumed to be extraneous to the production of oil and gas from the nearby fields.

                KPMG Failed to Exercise Due Professional Care and Professional
                Skepticism in Connection with the Miller Energy Audits

                PCAOB standards require auditors to exercise due professional care in the

 planning and performance of the audit and the preparation of the report. AU § 230.01. Auditors

 are required to maintain an attitude of professional skepticism, which includes “a questioning

 mind and a critical assessment of audit evidence.” AU § 230.07, Due Professional Care in the


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 Performance of Work. In addition, the auditor should “consider the competency and sufficiency

 of the evidence. Since evidence is gathered and evaluated throughout the audit, professional

 skepticism should be exercised throughout the audit process.” AU § 230.08. In exercising

 professional skepticism, an auditor should not be satisfied with less than persuasive evidence

 because of a belief that management is honest. AU §§ 230.09 and 316.13. Further, auditors

 should: (1) perform an ongoing questioning of whether the information and evidence obtained

 suggests that a material misstatement due to fraud has occurred; and (2) conduct the engagement

 with a mindset that recognizes that a material misstatement due to fraud could be present,

 regardless of past experience with the entity and the auditors’ belief about management’s

 honesty and integrity. AU § 316.13. Auditors should also exercise due professional care and

 professional skepticism in the course of reviews of interim financial information. AU § 722.01

 (noting that the three general standards discussed in AU § 150 apply to interim reviews); see also

 AU § 150.02.

                According to the SEC, KPMG failed to exercise due professional care and an

 attitude of professional skepticism in its Miller Energy audits.

                With respect to the fair value of the Alaska Assets, KPMG failed to adequately

 evaluate the estimates in the reserve report given the high valuation in light of the nominal

 purchase price and the lack of oil and gas experience possessed by Miller Energy’s CEO and

 CFO, as well as the material weakness identified by KPMG in connection with the inadequacy of

 the Company’s accounting personnel. Miller Energy was run by a CEO with a background in

 commercial real estate and admittedly with little to no previous industry, corporate or executive

 experience. It also possessed a limited accounting staff led by a CFO with no prior industry

 experience. In regard to the CFO, who was the person responsible for recording the Alaska



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 Assets’ valuation, KPMG’s workpapers state: He “does not appear to have adequate knowledge

 and experience in the oil and gas industry to facilitate the completeness and accuracy of industry

 specific accounting and required financial statement presentation and disclosure . . . .”

                  According to the SEC, KPMG also failed to appropriately address the fact that the

 Company based its fair value estimate on two reports that they knew were inappropriate for that

 purpose. Under the circumstances, including EVS’s stated concerns about the reserve report’s

 forecast and expenses, it should have been apparent to the core engagement team that additional

 procedures were needed in order to obtain sufficient competent evidence for the valuation of the

 Alaska Assets.

                  KPMG further failed to exercise due care and professional skepticism following

 the discovery of the insurance report used to support the $110 million worth of fixed assets. At

 first, EVS was tasked with assessing only whether the reserve report supported the $480 million

 valuation.   Using a pre-existing template, EVS created an estimate by using mostly the

 company’s inputs from the reserve report and by substituting its own assumptions for the

 discount rate, future oil prices, and reserve adjustment factors. EVS’s initial estimate, which

 assumed significantly higher oil prices than Miller Energy, was approximately $200 million.

 However, due to a flawed understanding of Miller Energy’s valuation, EVS removed from its

 analysis the reserve adjustments – i.e., risk weightings – it had applied in that initial calculation,

 which caused the high- end of its estimate to increase to over $500 million.

                  Approximately two weeks into EVS’s procedures and one week prior to the third

 quarter filing deadline (and after Riordan had informed Miller Energy’s audit committee that

 EVS’s work was almost complete and KPMG did not anticipate restatement of the valuation of

 the Alaska Assets), KPMG discovered that management had used an insurance report to value



                                                  46
 2275770.3
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                                   3240
 the fixed assets. At the time, again due in part to a flawed understanding of management’s

 valuation, EVS’s value range based on the reserve report alone appeared to suggest a value of

 $469 million to $531 million for the Alaska Assets, which roughly approximated Miller Energy’s

 overall $480 million valuation. Thus, when the insurance report surfaced, KPMG and Riordan

 became concerned that Miller Energy’s estimate may have been understated due to the

 additional $110 million value reflected in the insurance report.

                As a result, Riordan sent EVS an email telling them that KPMG had already

 informed the Company’s audit committee that KPMG did not anticipate restatement of the

 valuation, which meant that the valuation of the Alaska Assets did not need to be included

 among the financial restatement items that KPMG had identified and that the company had been

 working “feverishly” to complete. Two days after Riordan’s email to EVS, KPMG discovered

 that the Company’s valuation did not include any reserve adjustment factors. KPMG had

 received inconsistent representations from management regarding whether or not the values set

 forth in the reserve report incorporated reserve adjustment factors. KPMG failed to adequately

 inquire about the reasons for Miller Energy having provided them with inconsistent information.

 Instead, EVS reapplied risk weightings to its model. EVS then made several additional changes

 to its valuation model, the rationale for which was not properly documented.13 Due to these

 changes, EVS’s final estimated range appeared to support the Company’s fair value

 measurement for the Alaska Assets.

                According to the SEC, KPMG also failed to exercise due care and professional

 skepticism in connection with the valuation of the fixed assets. For example, after discovery of


      13
        The SEC found that KPMG also failed to prepare and retain required audit documentation
 in sufficient detail to provide a clear understanding of its purpose, source, and conclusions
 reached in connection with its Miller Energy engagement, in violation of AS No. 3.12.

                                                 47
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 the insurance report, KPMG did not exercise appropriate due care and professional skepticism

 when it failed to perform sufficient additional inquiries and other procedures relating to the fair

 value of the fixed assets and to detect that Miller Energy double counted the value of the fixed

 assets. These departures from due care and professional skepticism also included failing to

 reasonably investigate the lack of an engagement letter for the insurance report. KPMG asked the

 Company for the engagement letter setting forth the terms of the insurance broker’s supposed

 valuation work. In response, KPMG was told that no such letter could be located. KPMG did not

 pursue the engagement letter further. Had they done so, KPMG could have learned that the

 insurance broker undertook no valuation work for Miller Energy.

                The SEC found that KPMG also discounted, and did not sufficiently consider,

 information that came prior to KPMG issuance of its audit reports on Miller Energy’s financial

 statements. For example, on July 28, 2011, TheStreetSweeper, a financial blog dedicated to

 “exposing corporate fraud,” published a lengthy article that was extremely negative about Miller

 Energy and challenged the recorded valuation of the Alaska Assets. The article quoted “Digger”

 Smith, a veteran oil and gas geologist and businessman, who stated that the Alaska Assets were

 not worth $350 million. Smith valued the assets at between $35 to $40 million dollars, offset by

 $40 million in liabilities. Smith’s company had made a bid on the Cook Inlet properties and had

 allocated $875,000 of their bid toward those assets. One of Smith’s companies had been hired

 by the State of Alaska to maintain the properties while in bankruptcy. Smith knew the assets, the

 costs of operating in Alaska, and the liabilities assumed. Smith was also a board member and

 audit committee chairman for numerous publicly-traded companies. The article provided Web-

 based links to numerous bankruptcy court records and other public sources for its assertions

 questioning the valuation of the Alaska Assets. Riordan, the core engagement team, and a



                                                 48
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 member of KPMG management became aware of TheStreetSweeper article on the day it was

 published.

                Shortly, thereafter, in August 2011, Miller Energy received a subpoena from the

 Commission’s Division of Enforcement (the “Division”) seeking information relating in part to

 the purchase and valuation of the Alaska Assets. According to Boyd, KPMG was not only aware

 of the SEC inquiry, but drafted responses for the Company which defended the valuation of the

 Alaska Assets. Boyd, p. 134-35. Riordan discussed the formal investigation with regional

 KPMG management and with national office personnel in the Department of Professional

 Practice (“DPP”) and in the general counsel’s office. As part of this consultation, DPP became

 aware of the allegations in TheStreetSweeper article. KPMG, including senior personnel in its

 national office, did not view the Division’s investigation into the valuation of the Alaska Assets as

 requiring additional audit consideration largely because Riordan represented that it had applied

 “certain audit procedures” to the Alaska valuation and because it believed the staff’s investigation

 stemmed from TheStreetSweeper “hit job.” While Riordan sought direction from KPMG’s national

 office, the national office failed to make sufficient inquiries of the engagement team and to provide

 the engagement team with sufficient guidance in light of the Division’s investigation and the

 information in TheStreetSweeper article. KPMG and Riordan only made inquiries of certain

 company insiders and affiliates, including outside counsel representing Miller Energy in the

 Division’s investigation, and never revisited its valuation procedures.

                Miller Energy was also the subject of numerous other articles from, among other

 news sources, TheStreetSweeper, SeekingAlpha, and Esquire magazine, all of which questioned

 the Alaska purchase. Further, before KPMG issued its first audit opinion, a class action lawsuit




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                                   3243
 was filed against Miller Energy and its officers on an August 16, 2011, alleging that the

 Company had improperly valued the Alaska Assets on its books for 2009-11.

                    KPMG failed to take reasonable steps to assess the allegations set forth in news

 articles, SEC inquiry or class action lawsuit, or to consider them in light of their review and audit

 procedures on the Alaska Assets.

                    Finally, KPMG failed to respond appropriately to Miller Energy’s material

 weaknesses in its internal controls and accounting staffing. For example, by the end of fiscal

 year 2014, the Company still had not completely remediated its material weaknesses relating to

 an insufficient complement of corporate accounting and finance personnel necessary to

 consistently implement management review controls.            Since KPMG had knowledge of the

 material weaknesses through all of its audits beginning in 2011, it was required to effectively

 respond to the increased risk of material misstatement.           KPMG failed to respond in the

 appropriate fashion throughout the Class Period. Some of its responses should have included the

 following:

             a. Changing the nature, timing and extent of its audit procedures;

             b. Evaluating Miller Energy’s selection and application of significant accounting
                principles, such as focusing on those related to subjective measurements and complex
                transactions that are indicative of bias that could lead to a material misstatement in
                the financial statements; and

             c. Obtaining more persuasive audit evidence from substantive procedures. AS No. 13.

                    KPMG Failed to Properly Supervise its Engagement Team

                    PCAOB standards state that audit “assistants,” including firm personnel other

 than the auditor with final responsibility for the audit, are to be “properly supervised.” AU §

 311.01. Those standards further require that assistants be informed of their responsibilities and




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 the objectives of procedures assigned to them, and that the work of assistants be reviewed to

 determine whether that work was adequately performed. AU §§ 311.12 and 311.13.

                According to the SEC, KPMG failed to properly supervise the engagement team

 in connection with its Miller Energy engagement. Once the valuation testwork had begun,

 KPMG failed to properly supervise EVS and its work. For example, the core engagement team

 did not sufficiently evaluate EVS’s substitute assumptions as discussed in paragraph 125, supra.

 Similarly, despite knowing about the SEC’s investigation into Miller Energy’s valuation of the

 Alaska Assets and TheStreetSweeper article calling into question the valuation of the Alaska

 Assets, no one from KPMG’s regional management office, national Department of Professional

 Practice (“DPP”) office or general counsel’s office required the audit team to conduct additional

 audit consideration. N o r , did the national office make sufficient inquiries of the engagement

 team or provide the engagement team with sufficient guidance in light of the SEC investigation and

 the information in TheStreetSweeper article. Furthermore, despite knowing that Riordan had

 insufficient oil and gas experience, KPMG assigned him as the lead engagement partner and did

 nothing to ensure that the audit team had sufficient qualifications and experience to handle the

 Miller Energy audit.

                KPMG Lacked Independence

                By certifying the public reports that collectively depicted Miller Energy’s

 financial status, KPMG assumed a public responsibility transcending any employment

 relationship with Miller Energy. KPMG’s lack of independence, in both mind and appearance,

 resulted in KPMG repeatedly certifying four years’ worth of fraudulent financials.

                Auditors function as critical gatekeepers in the area of issuer reporting and

 disclosure. Comprehensive, accurate, and reliable financial reporting is the bedrock upon which

 our markets are based, and is essential to ensuring public confidence in them. Auditors play a

                                                51
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 crucial role in the financial reporting process by serving a “public watchdog function” that

 demands “total independence from the client at all times and requires complete fidelity to the

 public trust.” U.S. v. Arthur Young & Co., 465 U.S. 805, 818 (1984).

                From virtually the moment KPMG was retained by Miller Energy, KPMG began

 knowingly or recklessly violating numerous of these standards, including the bedrock standard of

 independence, which requires that “[i]n all matters relating to the assignment, an independence

 in mental attitude is to be maintained by the auditor.” AU § 220.

                The conceptual framework for the AICPA independence standards is provided

 within the AICPA’s Code of Professional Conduct, and defines the two required components of

 independence as:

                a.     Independence of mind – The state of mind that permits the performance of
                       an attest service without being affected by influences that compromise
                       professional judgment, thereby allowing an individual to act with integrity
                       and exercise objectivity and professional skepticism.

                b.     Independence in appearance – The avoidance of circumstances that would
                       cause a reasonable and informed third party, having knowledge of all
                       relevant information, including safeguards applied, to reasonably conclude
                       that the integrity, objectivity, or professional skepticism of a firm or a
                       member of the attest engagement team had been compromised.14

                In addition to certain specific situations that would render an auditor’s

 independence impaired, AICPA ET (Ethics) Section 101 recognizes that it is not practical to list

 every circumstance that might result in the appearance of a lack of independence and

 accordingly, advises that “…a member should evaluate whether that circumstance would lead a

 reasonable person aware of all the relevant facts to conclude that there is an unacceptable threat

 to the member’s and the firm’s independence.” The evaluation of threats to independence, and

      14
        See AICPA Code of Professional Conduct, available at
 http://www.aicpa.org/Research/Standards/CodeofConduct/DownloadableDocuments/2014Dece
 mber14CodeofProfessionalConduct.pdf.

                                                52
 2275770.3
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 safeguards applied to eliminate, or reduce to an acceptable level such threats, are required to be

 documented. AICPA ET Section 101, Independence, ¶02 101-1.

                KPMG’s failure to maintain its independence and objectivity, as required by

 PCAOB standards, is apparent from the numerous instances of reckless disregard of the PCAOB

 standards discussed herein. Furthermore, as discussed more fully below, KPMG subordinated its

 judgment to that of Miller Energy’s management, thereby failing to maintain its independence

 and objectivity as required by the PCAOB standards.

                From the outset of its engagement by Miller Energy, KPMG knowingly or

 recklessly failed “to maintain an independence in mental attitude in all matters relating to the

 engagement” and to the assignment at hand, including because KPMG performed independence-

 destroying bookkeeping, appraisal, and valuation services for the Company.

                Indeed, Boyd said that he “hired KPMG to do our books once we started getting

 some money in,” after “convincing Scott [Boruff] that we had to have some more help and we

 needed to upgrade our accounting,” because “I needed somebody with oil and gas experience,

 because I knew I didn’t have it.” Boyd, p. 56. According to Boyd, after Boruff “started talking

 to some of the large investors, they said, . . . a Big 4 firm would be nice.” Id. at p. 57.

                Further, even before KPMG completed its audit of Miller Energy’s financial

 statements for fiscal year 2011, the Company began receiving letters from the SEC with

 questions and concerns regarding the Company’s SEC filings, and KPMG was instrumental in

 preparing the Company’s responses to these letters. In his sworn statement, Boyd was asked

 about Miller Energy’s process for responding to SEC inquiries:

                Question:       Did you go through KPMG?

                Answer:         Like, what I just said, I didn’t do any of these in a
                                vacuum or on my own. I didn’t even prepare some of the
                                answers on my own. I was just in charge of coordinating

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                                the response. So sometimes KPMG themselves would
                                give me a draft of the answer to this particular -- you
                                know, because they always sent, like, 10 or 20 questions.
                                And so I would assign those questions to different
                                people. I’d say, okay, who’s got the most knowledge
                                about this? Who can help me with this one, you know?
                                And I said, I can do a couple of these myself, but I don’t
                                -- you know, I want everybody’s help on this; this is a
                                group effort. And so I would get KPMG’s help on a lot
                                of them to actually draft, and then they would sign off on
                                the entire thing before it went.

                KPMG’s undisclosed conduct in the drafting of the responses to these SEC letters

 badly undermined KPMG’s independence, as these letters included Miller Energy’s justifications

 for the valuation of the Alaska Assets, which valuation KPMG was supposed to be auditing and

 scrutinizing, not defending.

                Miler Energy’s former Senior Vice President for Investor Relations, Bobby

 Gaylor, confirmed these events, explaining that Miller Energy’s books and records were in such

 disarray that KPMG needed to “fix them . . . so they could audit them.”

                The foregoing acts by KPMG went well beyond providing auditing services, and

 instead constituted bookkeeping, appraisal, and valuation services, completely destroying

 KPMG’s independence.

                As the AICPA Plain English Guide to Independence explains:

                Because of self-audit concerns, performing any type of
                bookkeeping service for an SEC audit client is considered to
                impair independence under SEC rules unless it is reasonable to
                expect that the results of the auditor’s services will not be subject
                to the firm’s audit procedures.

                                                ***

                This presumption of self-audit also applies to financial information
                design and implementation; appraisals, valuations, fairness




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                  opinions, or contribution-in-kind reports; actuarial-related advisory
                  services; and internal audit outsourcing.15

                  Indeed, as the SEC itself explained in SEC Release No. 33-7919, published in

 connection with its revisions to, among other things, 17 C.F.R. 210 (which includes rules

 governing public auditing firms):

                  Our rule lists services that, regardless of the size of the fees they
                  generate, place the auditor in a position inconsistent with the
                  necessary objectivity. Bookkeeping services, for example, place
                  the auditor in the position of later having to audit his or her own
                  work and identify the auditor too closely with the enterprise under
                  audit. It is asking too much of an auditor who keeps the financial
                  books of an audit client to expect him or her to be able to audit
                  those same records with an objective eye.

                  In much the same way, performing certain valuation services for
                  the audit client is inconsistent with independence. An auditor who
                  has appraised an important client asset at mid-year is less likely to
                  question his or her own work at year-end. Similarly, an auditor
                  who provides services in a way that is tantamount to accepting an
                  appointment as an officer or employee of the audit client cannot be
                  expected to be independent in auditing the financial consequences
                  of management’s decisions.16

                  17 C.F.R. 210.2-01(c)(4), in turn, provides that “[a]n accountant is not

 independent if, at any point during the audit and professional engagement period, the accountant

 provides [certain] non-audit services to an audit client,” including bookkeeping services, as set

 forth in 17 C.F.R. 210.2-01(c)(4)(i):

                  (i) Bookkeeping or other services related to the accounting records
                  or financial statements of the audit client. Any service, unless it is
                  reasonable to conclude that the results of these services will not be
                  subject to audit procedures during an audit of the audit client’s
                  financial statements, including:

      15
        American Institute of Certified Public Accountants, Inc., AICPA Plain English Guide to
 Independence, March 1, 2016, at 42, available at
 http://www.aicpa.org/interestareas/professionalethics/resources/tools/downloadabledocuments/pl
 ain%20english%20guide.pdf (emphasis added).
      16
           https://www.sec.gov/rules/final/33-7919.htm#P127_53448

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                                   3249
                (A) Maintaining or preparing the audit client’s accounting records;

                (B) Preparing the audit client’s financial statements that are filed
                with the Commission or that form the basis of financial statements
                filed with the Commission; or

                (C) Preparing or originating source data underlying the audit
                client’s financial statements.

                17 C.F.R. 210.2-01(c)(4)(iii) further provides that appraisal and valuation services

 also destroy independence:

                (iii) Appraisal or valuation services, fairness opinions, or
                contribution-in-kind reports. Any appraisal service, valuation
                service, or any service involving a fairness opinion or contribution-
                in-kind report for an audit client, unless it is reasonable to conclude
                that the results of these services will not be subject to audit
                procedures during an audit of the audit client’s financial
                statements.

 The wisdom of these rules is highlighted by the facts of this case. As the above allegations make

 clear, from the outset, KPMG performed in-house accounting, bookkeeping, appraisal, and

 valuation services for Miller Energy. It is no wonder that KPMG’s “audits” of the figures

 generated through these services resulted in unqualified clean audit opinions. Indeed, as Gaylor

 explained, the reason KPMG “stuck around” as the Company’s auditor – despite the

 unauthorized Form 10-K filing on July 29, 2011 without KPMG’s consent – was that “they are

 culpable at that point forward,” by virtue of having “fixed” the Company’s accounting entries.

 Gaylor, p. 194-95.17


                Further, even before KPMG completed its audit of Miller Energy’s financial

 statements for fiscal year 2011, the Company began receiving letters from the SEC with

 questions and concerns regarding the Company’s SEC filings, and KPMG was instrumental in


      17
       Citations to “Gaylor, p. __” are to pages of a transcript of sworn testimony given by
 Gaylor on April 19, 2016.

                                                  56
 2275770.3
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                                   3250
 preparing the Company’s responses to these letters. In his sworn statement, Boyd was asked

 about Miller Energy’s process for responding to SEC inquiries:

                Question:       Did you go through KPMG?

                Answer:         Like, what I just said, I didn’t do any of these in a
                                vacuum or on my own. I didn’t even prepare some of the
                                answers on my own. I was just in charge of coordinating
                                the response. So sometimes KPMG themselves would
                                give me a draft of the answer to this particular -- you
                                know, because they always sent, like, 10 or 20 questions.
                                And so I would assign those questions to different
                                people. I’d say, okay, who’s got the most knowledge
                                about this? Who can help me with this one, you know?
                                And I said, I can do a couple of these myself, but I don’t
                                -- you know, I want everybody’s help on this; this is a
                                group effort. And so I would get KPMG’s help on a lot
                                of them to actually draft, and then they would sign off on
                                the entire thing before it went.

                KPMG’s undisclosed conduct in the drafting of the responses to these SEC letters

 badly undermined KPMG’s independence, as these letters included Miller Energy’s justifications

 for the valuation of the Alaska Assets, which valuation KPMG was supposed to be auditing and

 scrutinizing, not defending.

                KPMG’s “No Audit At All” Concealed Miller Energy’s Fraud from Investors

                KPMG’s conduct prevented Miller Energy’s fraud from being revealed to the

 investing public. Absent KPMG’s conduct in furthering the Company’s fraud, the Company

 would not have been able to obtain the critical financing it needed to meet its short-term

 obligations and avoid bankruptcy in 2011.

                Indeed, according Gaylor, KPMG’s Riordan and Bennett flew to Alaska to meet

 with investors, in which their sole function was to demonstrate to investors that KPMG was

 involved, and that therefore, Miller Energy could be trusted. Gaylor, p. 78-79.




                                                 57
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                  Not only did KPMG’s clean opinions provide credibility to Miller Energy’s

 valuation of the Alaska Assets, but they provided the Company “cover” and were relied upon by

 investors.

                  KPMG knew full well the value of its imprimatur to Miller Energy and the

 Company’s executives, creditors, and investors. It knew that were it to subject the Alaska Assets

 to the scrutiny required of an independent public auditor, or to resign as Miller Energy’s

 independent auditor, or to issue anything other than a clean, unqualified report, the Miller Energy

 house of cards would crumble, resulting in massive and widespread losses.

                  Notably, the Miller Energy auditing debacle was not even the latest case

 involving improper conduct by KPMG. For instance, in April 2017, KPMG announced that it

 had fired five partners, including the national managing partner for audit quality and professional

 practice, after KPMG improperly obtained information about which audits its regulator, the

 PCAOB, planned to inspect.

                  The PCAOB oversees firms that audit U.S.-traded public companies. According

 to The Wall Street Journal, among the Big 4 accounting firms, KPMG had the highest number of

 deficiencies cited by the accounting board in each of the past two years. In the previous year, 20

 of KPMG’s inspected audits, or 38% of those inspected, were found to be deficient. In 2015, the

 number of deficient audits was 28, or 54% of those inspected.

             H.   Additional Scienter Allegations

                  KPMG knew or were reckless in not knowing about the false and misleading

 nature of the valuation of the Alaska Assets.

                  The Alaska Assets were extremely material to the Company.           Indeed, their

 fraudulent valuation was the only reason the Company was able to avoid bankruptcy in fiscal

 year 2010, and was responsible for generating the only “profit” ever experienced by the

                                                 58
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Case 3:16-cv-00121-TAV-DCP Document 59 Filed 09/15/17 Page 61 of 120 PageID #:
                                   3252
 Company. Because of the extreme, Company-defining significance of the Alaska Assets and

 KPMG’s robust knowledge of all aspects of those Assets, KPMG knew or recklessly disregarded

 that they were fraudulently overvalued.

                  KPMG had unfettered access to data that conclusively revealed the fraudulent

 valuation of the Alaska Assets further, including to, among other things: (a) emails and records

 showing actual costs and expenses associated with recovering hydrocarbons from the Alaska

 Assets, which were significantly higher than the assumptions underlying their reported fair

 market value; and (b) emails and records using internal estimates of such costs and expenses that

 were significantly higher than the assumptions underlying the reported fair market value of the

 Alaska Assets.

                  KPMG was repeatedly warned and put on notice that the Alaska Assets were

 likely to have been overvalued, including in numerous reports published by TheStreetSweeper,

 reports which included analysis from oil and gas experts and investors, as well as on-the-record

 statements by reputable executives in the energy industry; in correspondence from the SEC

 relating to the valuation of the Alaska Assets; and in lawsuits alleging the fraudulent valuation of

 the Alaska Assets.

                  KPMG had motive to perpetuate the fraud. Its Knoxville office, which held the

 Miller Energy account, was motivated by the fact that during the Class Period, there were not

 many businesses in Knoxville that could generate the millions of dollars in fees that the Miller

 Energy account was capable of generating and did in fact generate for that office. Indeed, a

 sense of the size of the fees generated by the Miller Energy account was revealed in documents

 filed in Miller Energy’s bankruptcy proceedings, which showed, among other things, that just in

 the 90 days preceding Miller Energy’s October 1, 2015 bankruptcy filing, it had paid KPMG



                                                 59
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                                   3253
 $553,280, and still owed KPMG an additional $448,000 on top of that amount. KPMG’s

 Knoxville office was also motivated by the connections to Knoxville’s business elite that could

 be developed through the Miller Energy account, and indeed, as Gaylor explained, Riordan and

 Bennett asked Gaylor to introduce them to Knoxville-area business leaders. As for opportunity,

 KPMG had every opportunity to either perpetuate the fraud by participating in it, or to expose

 the fraud. At every turn, KPMG chose the former, further demonstrating scienter.

                KPMG’s ignorance of numerous additional red flags not discussed above also

 supports scienter. Among these are that: (a) the Company filed the July 29, 2011 Form 10-K

 without KPMG’s consent; (b) the Company had a history of “going concern” qualified audit

 opinions prior to its acquisition of the Alaska Assets; (c) KPMG was brought in to become the

 Company’s auditor on February 1, 2011, towards the end of the Company’s fiscal year, which

 was April 30, 2011, despite the fact that the proxy dated January 28, 2011, stated that Sherb was

 being recommended for re-appointment; (d) Miller Energy revealed on March 18, 2011 that it

 had to file that Form 10-Q late, and that it had failed to property record depreciation, depletion

 and amortization (“DD&A”) and other items relating to the Alaska Assets; (e) Boruff financed

 the purchase of a home and furnishings worth $9.5 million using the rising price of Company

 stock, despite being paid only a $500,000 salary; (f) the Company repeatedly borrowed money at

 effective interest rates of over 20%; (g) the Company always had cash flow problems and always

 paid its bills late; (h) the Company’s founder, Deloy Miller, treated the Company like a family

 business, instead of a public company; and (i) KPMG personnel, including Riordan, personally

 witnessed enormous dysfunction within Miller Energy, including two members of the accounting

 staff getting intoxicated in the office, becoming angry and disorderly, and loudly complaining

 about their compensation. Gaylor, p. 120-124.



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Case 3:16-cv-00121-TAV-DCP Document 59 Filed 09/15/17 Page 63 of 120 PageID #:
                                   3254
             I.   KPMG’s False and Misleading Statements

                  On August 29, 2011, in connection with Miller Energy’s Form 10-K/A of the

 same date, KPMG stated:

                  We have audited the accompanying consolidated balance sheet of
                  Miller Energy Resources, Inc. and subsidiaries (the Company) as
                  of April 30, 2011, and the related consolidated statements of
                  operations, stockholders’ equity, and cash flows for the year ended
                  April 30, 2011. These consolidated financial statements are the
                  responsibility of the Company’s management. Our responsibility is
                  to express an opinion on these consolidated financial statements
                  based on our audit.

                  We conducted our audit in accordance with the standards of the
                  Public Company Accounting Oversight Board (United States).
                  Those standards require that we plan and perform the audit to
                  obtain reasonable assurance about whether the financial statements
                  are free of material misstatement. An audit includes examining, on
                  a test basis, evidence supporting the amounts and disclosures in the
                  financial statements. An audit also includes assessing the
                  accounting principles used and significant estimates made by
                  management, as well as evaluating the overall financial statement
                  presentation. We believe that our audit provides a reasonable basis
                  for our opinion.

                  In our opinion, the consolidated financial statements referred to
                  above present fairly, in all material respects, the financial position
                  of Miller Energy Resources, Inc. and subsidiaries as of April 30,
                  2011, and the results of their operations and their cash flows for
                  the year ended April 30, 2011, in conformity with U.S. generally
                  accepted accounting principles.

                  On July 16, 2012, in connection with Miller Energy’s Form 10-K of that same

 date, KPMG stated:

                  We have audited the accompanying consolidated balance sheets of
                  Miller Energy Resources, Inc. and subsidiaries (the Company) as
                  of April 30, 2012 and 2011, and the related consolidated
                  statements of operations, stockholders’ equity, and cash flows for
                  the years then ended. These consolidated financial statements are
                  the responsibility of the Company’s management. Our
                  responsibility is to express an opinion on these consolidated
                  financial statements based on our audits.


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             We conducted our audits in accordance with the standards of the
             Public Company Accounting Oversight Board (United States).
             Those standards require that we plan and perform the audit to
             obtain reasonable assurance about whether the financial statements
             are free of material misstatement. An audit includes examining, on
             a test basis, evidence supporting the amounts and disclosures in the
             financial statements. An audit also includes assessing the
             accounting principles used and significant estimates made by
             management, as well as evaluating the overall financial statement
             presentation. We believe that our audits provide a reasonable basis
             for our opinion.

             In our opinion, the consolidated financial statements referred to
             above present fairly, in all material respects, the financial position
             of Miller Energy Resources, Inc. and subsidiaries as of April 30,
             2012 and 2011, and the results of their operations and their cash
             flows for the years then ended, in conformity with U.S. generally
             accepted accounting principles.

             We also have audited, in accordance with the standards of the
             Public Company Accounting Oversight Board (United States),
             Miller Energy Resources, Inc.’s internal control over financial
             reporting as of April 30, 2012, based on criteria established in
             Internal Control - Integrated Framework issued by the Committee
             of Sponsoring Organization of the Treadway Commission
             (COSO), and our report dated July 16, 2012 expressed an adverse
             opinion on the effectiveness of the Company’s internal control
             over financial reporting

             That same day, KPMG stated:

             We have audited Miller Energy Resources, Inc.’s and subsidiaries
             (the Company) internal control over financial reporting as of April
             30, 2012, based on criteria established in Internal Control
             Integrated Framework issued by the Committee of Sponsoring
             Organizations of the Treadway Commission (COSO). The
             Company’s management is responsible for maintaining effective
             internal control over financial reporting and for its assessment of
             the effectiveness of internal control over financial reporting,
             included in the accompanying Management’s Report on Internal
             Control over Financial Reporting (Item 9A(b)). Our responsibility
             is to express an opinion on the Company’s internal control over
             financial reporting based on our audit.

             We conducted our audit in accordance with the standards of the
             Public Company Accounting Oversight Board (United States).
             Those standards require that we plan and perform the audit to

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Case 3:16-cv-00121-TAV-DCP Document 59 Filed 09/15/17 Page 65 of 120 PageID #:
                                   3256
             obtain reasonable assurance about whether effective internal
             control over financial reporting was maintained in all material
             respects. Our audit included obtaining an understanding of internal
             control over financial reporting, assessing the risk that a material
             weakness exists, and testing and evaluating the design and
             operating effectiveness of internal control based on the assessed
             risk. Our audit also included performing such other procedures as
             we considered necessary in the circumstances. We believe that our
             audit provides a reasonable basis for our opinion.

             A company’s internal control over financial reporting is a process
             designed to provide reasonable assurance regarding the reliability
             of financial reporting and the preparation of financial statements
             for external purposes in accordance with generally accepted
             accounting principles. A company’s internal control over financial
             reporting includes those policies and procedures that (1) pertain to
             the maintenance of records that, in reasonable detail, accurately
             and fairly reflect the transactions and dispositions of the assets of
             the company; (2) provide reasonable assurance that transactions
             are recorded as necessary to permit preparation of financial
             statements in accordance with generally accepted accounting
             principles, and that receipts and expenditures of the company are
             being made only in accordance with authorizations of management
             and directors of the company; and (3) provide reasonable
             assurance regarding prevention or timely detection of unauthorized
             acquisition, use, or disposition of the company’s assets that could
             have a material effect on the financial statements.

             Because of its inherent limitations, internal control over financial
             reporting may not prevent or detect misstatements. Also,
             projections of any evaluation of effectiveness to future periods are
             subject to the risk that controls may become inadequate because of
             changes in conditions, or that the degree of compliance with the
             policies or procedures may deteriorate.

             A material weakness is a deficiency, or a combination of
             deficiencies, in internal control over financial reporting, such that
             there is a reasonable possibility that a material misstatement of the
             company’s annual or interim financial statements will not be
             prevented or detected on a timely basis. A material weakness
             related to an insufficient complement of corporate accounting and
             finance personnel to consistently operate management review
             controls has been identified and included in management’s
             assessment.

             We also have audited, in accordance with the standards of the
             Public Company Accounting Oversight Board (United States), the

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Case 3:16-cv-00121-TAV-DCP Document 59 Filed 09/15/17 Page 66 of 120 PageID #:
                                   3257
              consolidated balance sheets of Miller Energy Resources, Inc. and
              subsidiaries as of April 30, 2012 and 2011, and the related
              consolidated statements of operations, stockholders’ equity, and
              cash flows for the years then ended. This material weakness was
              considered in determining the nature, timing, and extent of audit
              tests applied in our audit of the 2012 consolidated financial
              statements, and this report does not affect our report dated July 16,
              2012, which expressed an unqualified opinion on those
              consolidated financial statements.

              In our opinion, because of the effect of the aforementioned
              material weakness on the achievement of the objectives of the
              control criteria, the Company has not maintained effective internal
              control over financial reporting as of April 30, 2012, based on the
              criteria established in Internal Control - Integrated Framework
              issued by the COSO.

              On July 15, 2013, in connection with Miller Energy’s Form 10-K of the same

 date, KPMG stated:

              We have audited the accompanying consolidated balance sheets of
              Miller Energy Resources, Inc. and subsidiaries (the Company) as
              of April 30, 2013 and 2012, and the related consolidated
              statements of operations, stockholders’ equity, and cash flows for
              each of the years in the three-year period ended April 30, 2013.
              These consolidated financial statements are the responsibility of
              the Company’s management. Our responsibility is to express an
              opinion on these consolidated financial statements based on our
              audits.

              We conducted our audits in accordance with the standards of the
              Public Company Accounting Oversight Board (United States).
              Those standards require that we plan and perform the audit to
              obtain reasonable assurance about whether the financial statements
              are free of material misstatement. An audit includes examining, on
              a test basis, evidence supporting the amounts and disclosures in the
              financial statements. An audit also includes assessing the
              accounting principles used and significant estimates made by
              management, as well as evaluating the overall financial statement
              presentation. We believe that our audits provide a reasonable basis
              for our opinion.

              In our opinion, the consolidated financial statements referred to
              above present fairly, in all material respects, the financial position
              of Miller Energy Resources, Inc. and subsidiaries as of April 30,
              2013 and 2012, and the results of their operations and their cash

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 2275770.3
Case 3:16-cv-00121-TAV-DCP Document 59 Filed 09/15/17 Page 67 of 120 PageID #:
                                   3258
             flows for each of the years in the three-year period ended April 30,
             2013, in conformity with U.S. generally accepted accounting
             principles.

             We also have audited, in accordance with the standards of the
             Public Company Accounting Oversight Board (United States),
             Miller Energy Resources, Inc.’s internal control over financial
             reporting as of April 30, 2013, based on criteria established in
             Internal Control - Integrated Framework issued by the Committee
             of Sponsoring Organization of the Treadway Commission
             (COSO), and our report dated July 15, 2013 expressed an adverse
             opinion on the effectiveness of the Company’s internal control
             over financial reporting.

             That same day, KPMG stated:

             We have audited Miller Energy Resources, Inc.’s and subsidiaries
             (the Company) internal control over financial reporting as of April
             30, 2013, based on criteria established in Internal Control
             Integrated Framework issued by the Committee of Sponsoring
             Organizations of the Treadway Commission (COSO). The
             Company’s management is responsible for maintaining effective
             internal control over financial reporting and for its assessment of
             the effectiveness of internal control over financial reporting,
             included in the accompanying Management’s Report on Internal
             Control over Financial Reporting (Item 9A(b)). Our responsibility
             is to express an opinion on the Company’s internal control over
             financial reporting based on our audit.

             We conducted our audit in accordance with the standards of the
             Public Company Accounting Oversight Board (United States).
             Those standards require that we plan and perform the audit to
             obtain reasonable assurance about whether effective internal
             control over financial reporting was maintained in all material
             respects. Our audit included obtaining an understanding of internal
             control over financial reporting, assessing the risk that a material
             weakness exists, and testing and evaluating the design and
             operating effectiveness of internal control based on the assessed
             risk. Our audit also included performing such other procedures as
             we considered necessary in the circumstances. We believe that our
             audit provides a reasonable basis for our opinion.

             A company’s internal control over financial reporting is a process
             designed to provide reasonable assurance regarding the reliability
             of financial reporting and the preparation of financial statements
             for external purposes in accordance with generally accepted
             accounting principles. A company’s internal control over financial

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                                   3259
             reporting includes those policies and procedures that (1) pertain to
             the maintenance of records that, in reasonable detail, accurately
             and fairly reflect the transactions and dispositions of the assets of
             the company; (2) provide reasonable assurance that transactions
             are recorded as necessary to permit preparation of financial
             statements in accordance with generally accepted accounting
             principles, and that receipts and expenditures of the company are
             being made only in accordance with authorizations of management
             and directors of the company; and (3) provide reasonable
             assurance regarding prevention or timely detection of unauthorized
             acquisition, use, or disposition of the company’s assets that could
             have a material effect on the financial statements.

             Because of its inherent limitations, internal control over financial
             reporting may not prevent or detect misstatements. Also,
             projections of any evaluation of effectiveness to future periods are
             subject to the risk that controls may become inadequate because of
             changes in conditions, or that the degree of compliance with the
             policies or procedures may deteriorate.

             A material weakness is a deficiency, or a combination of
             deficiencies, in internal control over financial reporting, such that
             there is a reasonable possibility that a material misstatement of the
             company’s annual or interim financial statements will not be
             prevented or detected on a timely basis. A material weakness
             related to an insufficient complement of corporate accounting and
             finance personnel to consistently operate management review
             controls has been identified and included in management’s
             assessment.

             We also have audited, in accordance with the standards of the
             Public Company Accounting Oversight Board (United States), the
             consolidated balance sheets of Miller Energy Resources, Inc. and
             subsidiaries as of April 30, 2013 and 2012, and the related
             consolidated statements of operations, stockholders’ equity, and
             cash flows for each of the years in the three-year period ended
             April 30, 2013. This material weakness was considered in
             determining the nature, timing, and extent of audit tests applied in
             our audit of the 2013 consolidated financial statements, and this
             report does not affect our report dated July 15, 2013, which
             expressed an unqualified opinion on those consolidated financial
             statements.

             In our opinion, because of the effect of the aforementioned
             material weakness on the achievement of the objectives of the
             control criteria, the Company has not maintained effective internal
             control over financial reporting as of April 30, 2013, based on the

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Case 3:16-cv-00121-TAV-DCP Document 59 Filed 09/15/17 Page 69 of 120 PageID #:
                                   3260
              criteria established in Internal Control - Integrated Framework
              issued by the COSO.

              On July 14, 2014, in connection with Miller Energy’s Form 10-K of that same

 date, KPMG stated:

              We have audited the accompanying consolidated balance sheets of
              Miller Energy Resources, Inc. and subsidiaries (the Company) as
              of April 30, 2014 and 2013, and the related consolidated
              statements of operations, stockholders’ equity, and cash flows for
              each of the years in the three-year period ended April 30, 2014.
              These consolidated financial statements are the responsibility of
              the Company’s management. Our responsibility is to express an
              opinion on these consolidated financial statements based on our
              audits.

              We conducted our audits in accordance with the standards of the
              Public Company Accounting Oversight Board (United States).
              Those standards require that we plan and perform the audit to
              obtain reasonable assurance about whether the financial statements
              are free of material misstatement. An audit includes examining, on
              a test basis, evidence supporting the amounts and disclosures in the
              financial statements. An audit also includes assessing the
              accounting principles used and significant estimates made by
              management, as well as evaluating the overall financial statement
              presentation. We believe that our audits provide a reasonable basis
              for our opinion.

              In our opinion, the consolidated financial statements referred to
              above present fairly, in all material respects, the financial position
              of Miller Energy Resources, Inc. and subsidiaries as of April 30,
              2014 and 2013, and the results of their operations and their cash
              flows for each of the years in the three-year period ended April 30,
              2014, in conformity with U.S. generally accepted accounting
              principles.

              We also have audited, in accordance with the standards of the
              Public Company Accounting Oversight Board (United States),
              Miller Energy Resources, Inc.’s internal control over financial
              reporting as of April 30, 2013, based on criteria established in
              Internal Control - Integrated Framework (1992) issued by the
              Committee of Sponsoring Organization of the Treadway
              Commission, and our report dated July 14, 2014 expressed an
              adverse opinion on the effectiveness of the Company’s internal
              control over financial reporting.


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                                   3261
             That same day, KPMG stated:

             We have audited Miller Energy Resources, Inc.’s and subsidiaries
             (the Company) internal control over financial reporting as of April
             30, 2014, based on criteria established in Internal Control
             Integrated Framework (1992) issued by the Committee of
             Sponsoring Organizations of the Treadway Commission (COSO).
             The Company’s management is responsible for maintaining
             effective internal control over financial reporting and for its
             assessment of the effectiveness of internal control over financial
             reporting, included in the accompanying Management’s Report on
             Internal Control over Financial Reporting (Item 9A(b)). Our
             responsibility is to express an opinion on the Company’s internal
             control over financial reporting based on our audit.

             We conducted our audit in accordance with the standards of the
             Public Company Accounting Oversight Board (United States).
             Those standards require that we plan and perform the audit to
             obtain reasonable assurance about whether effective internal
             control over financial reporting was maintained in all material
             respects. Our audit included obtaining an understanding of internal
             control over financial reporting, assessing the risk that a material
             weakness exists, and testing and evaluating the design and
             operating effectiveness of internal control based on the assessed
             risk. Our audit also included performing such other procedures as
             we considered necessary in the circumstances. We believe that our
             audit provides a reasonable basis for our opinion.

             A company’s internal control over financial reporting is a process
             designed to provide reasonable assurance regarding the reliability
             of financial reporting and the preparation of financial statements
             for external purposes in accordance with generally accepted
             accounting principles. A company’s internal control over financial
             reporting includes those policies and procedures that (1) pertain to
             the maintenance of records that, in reasonable detail, accurately
             and fairly reflect the transactions and dispositions of the assets of
             the company; (2) provide reasonable assurance that transactions
             are recorded as necessary to permit preparation of financial
             statements in accordance with generally accepted accounting
             principles, and that receipts and expenditures of the company are
             being made only in accordance with authorizations of management
             and directors of the company; and (3) provide reasonable
             assurance regarding prevention or timely detection of unauthorized
             acquisition, use, or disposition of the company’s assets that could
             have a material effect on the financial statements.



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               Because of its inherent limitations, internal control over financial
               reporting may not prevent or detect misstatements. Also,
               projections of any evaluation of effectiveness to future periods are
               subject to the risk that controls may become inadequate because of
               changes in conditions, or that the degree of compliance with the
               policies or procedures may deteriorate.

               A material weakness is a deficiency, or a combination of
               deficiencies, in internal control over financial reporting, such that
               there is a reasonable possibility that a material misstatement of the
               company’s annual or interim financial statements will not be
               prevented or detected on a timely basis. A material weakness
               related to an insufficient complement of corporate accounting and
               finance personnel to consistently operate management review
               controls has been identified and included in management’s
               assessment.

               We also have audited, in accordance with the standards of the
               Public Company Accounting Oversight Board (United States), the
               consolidated balance sheets of Miller Energy Resources, Inc. and
               subsidiaries as of April 30, 2014 and 2013, and the related
               consolidated statements of operations, stockholders’ equity, and
               cash flows for each of the years in the three-year period ended
               April 30, 2014. This material weakness was considered in
               determining the nature, timing, and extent of audit tests applied in
               our audit of the 2014 consolidated financial statements, and this
               report does not affect our report dated July 14, 2014, which
               expressed an unqualified opinion on those consolidated financial
               statements.

               In our opinion, because of the effect of the aforementioned
               material weakness on the achievement of the objectives of the
               control criteria, the Company has not maintained effective internal
               control over financial reporting as of April 30, 2014, based on the
               criteria established in Internal Control - Integrated Framework
               (1992) issued by the COSO.

               The foregoing statements were also incorporated into Miller Energy’s September

 6, 2012 Registration Statement, which became effective on September 18, 2012, and into various

 prospectus supplements, as follows:




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                                                                       Prospectus
               Registration  Prospectus    Prospectus   Prospectus                   Prospectus      Prospectus
                                                                       supplement
             Statement dated supplement    supplement   supplement                   supplement      supplement
                                                                          dated
              September 6, dated February dated May 7, dated June 27,               dated October   dated August
                                                                      September 25,
                  2012        13, 2013        2013         2013                       17, 2013        20, 2014
                                                                          2013
 KPMG’s
August 29,
                   x              x             x            x             x              x              x
   2011
  Report
 KPMG’s
 July 16,
                   x              x             x            x             x              x              x
   2012
 Reports
 KPMG’s
 July 15,
                                                                           x              x              x
   2013
 Reports
 KPMG’s
 July 15,
                                                                                                         x
   2014
 Reports



                       The foregoing Registration Statement, and each of the foregoing Prospectus

    Supplements incorporating that Registration Statement, also contained the following statement

    under the heading “Experts”:

                       The consolidated financial statements of Miller Energy Resources,
                       Inc. and subsidiaries as of April 30, 2012 and 2011, and for the
                       years then ended, have been incorporated by reference herein in
                       reliance upon the reports of KPMG LLP, independent registered
                       accounting firm, incorporated by reference herein, and upon the
                       authority of such firm as experts in accounting and auditing.
                       Resources, Inc. and subsidiaries as of April 30, 2012 and 2011, and
                       the related consolidated statements of operations, stockholders’
                       equity, and cash flows for the years then ended, and the
                       effectiveness of internal control over financial reporting as of April
                       30, 2012, incorporated by reference herein and to the reference to
                       our firm under the heading “Experts” in the prospectus.

                       /s/ KPMG LLP

                       Knoxville, Tennessee

                       September 5, 2012




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                  The June 27, 2013, September 25, 2013, and October 17, 2013 Prospectus

 Supplements each also contained the following statement, under the heading “Experts”:

                  The consolidated financial statements of Miller Energy Resources,
                  Inc. and subsidiaries as of April 30, 2013 and 2012, and for each of
                  the years in the three-year period ended April 30, 2013, have been
                  incorporated by reference herein in reliance upon the reports of
                  KPMG LLP, independent registered accounting firm, incorporated
                  by reference herein, and upon the authority of such firm as experts
                  in accounting and auditing.

                  The August 20, 2014 Offering Documents also contained the following statement,

 under the heading “Experts”:

                  The consolidated financial statements of Miller Energy Resources,
                  Inc. and subsidiaries as of April 30, 2014 and 2013 and for each of
                  the years in the three-year period ended April 30, 2014, have been
                  incorporated by reference herein in reliance upon the reports of
                  KPMG LLP, independent registered accounting firm, incorporated
                  by reference herein, and upon the authority of such firm as experts
                  in accounting and auditing.

                  The foregoing Registration Statement, and each of the foregoing Prospectus

 Supplements, also incorporated by reference the following materially misleading SEC filings by

 Miller Energy:

                 Annual Report on Form 10-K for the year ended April 30, 2012 as filed on July
                  16, 2012 and amended on August 28, 2012, and further amended on September 6,
                  2012);

                 Current Report on Form 8-K as filed on July 17, 2012;

                 Current Report on Form 8-K as filed on July 26, 2012;

                 Current Report on Form 8-K as filed on July 27, 2012 and amended on August 1,
                  2012;

                 Current Report on Form 8-K as filed on July 31, 2012;

                 Current Report on Form 8-K as filed on August 1, 2012;

                 Current Report on Form 8-K as filed on August 17, 2012;



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                Current Report on Form 8-K/A as filed on August 27, 2012; and

                Current Report on Form 8-K as filed on September 4, 2012.

                 The foregoing statements and documents were false and misleading because,

 contrary to these statements and the representations in these documents:

                 a.     KPMG did not conduct any of its audits in accordance with GAAS or the
                        standards of the PCAOB;

                 b.     The financial statements referred to in these statements all contained
                        material errors;

                 c.     The financial statements referred to in these statements did not conform
                        with GAAP;

                 d.     KPMG lacked any reasonable basis for its opinion that the financial
                        statements referred to in these statements were accurate;

                 e.     KPMG’s statements regarding Miller Energy’s internal control
                        weaknesses falsely stated that KPMG took those weaknesses into account
                        when auditing Miller Energy’s financial statements; and

                 f.     KPMG’s statements regarding Miller Energy’s internal control
                        weaknesses omitted to disclose that those weaknesses resulted in material
                        inaccuracies in Miller Energy’s financial statements.

                 In addition, the foregoing statements were false and misleading because, as the

 SEC subsequently determined, Miller Energy’s financial reports for Forms 10-Q for the third

 quarter of fiscal year 2010 and for the first three quarters of fiscal years 2011 through 2015;

 Forms 10-K for fiscal years ended 2010 through 2014; the Form S-1 filed on August 8, 2010;

 Forms S-3 filed on September 6, 2012 and October 5, 2012; and prospectuses filed between

 August 25, 2010 and August 20, 2014 pursuant to Rule 424, all “materially misstated the value

 of its assets.” KPMG Order at 5.

                 Specifically, the SEC found, among other things, that: (1) KPMG’s valuation of

 the Alaska Assets at an “inflated value of $480 million . . . violated generally accepted

 accounting principles (“GAAP”) and overstated the fair value of the assets by hundreds of


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 millions of dollars”; (2) KPMG “failed to comply with standards promulgated by the Public

 Company Accounting Oversight Board (“PCAOB”), chiefly with respect to the procedures

 relating to the oil and gas properties that contained the overstated asset values”; (3) KPMG

 “failed to obtain sufficient competent evidence regarding the impact of the opening balances of

 the Alaska Assets, despite knowing that no proper fair value assessment had been performed by

 management”; (4) KPMG “failed to appropriately consider the facts leading to Miller Energy’s

 acquisition of the Alaska Assets, including the multiple offers received for those assets and the

 “abandonment” of the assets by the prior owner” in valuing the Alaska Assets; (5) KPMG “failed

 to sufficiently review certain forecasted costs associated with the estimation of the fair value of

 the Alaska Assets, which were understated, and to detect that certain fixed assets were double

 counted in the company’s valuation”; (6) KPMG “failed to properly assess the risks associated

 with accepting Miller Energy as a client and to properly staff the audit”; (7) KPMG “overlooked

 evidence that indicated a possible overvaluation of the Alaska Assets”; (8) KPMG “failed to

 exercise the requisite degree of due professional care and skepticism” in auditing Miller

 Energy”; and (9) even after KPMG management and national office personnel became aware of

 the unusual and highly material valuation of the Alaska Assets, KPMG failed to “take sufficient

 action to determine that an appropriate response was taken by the engagement team regarding the

 risk of overvaluation of the Alaska Assets.”

             J.   The Truth Begins to Emerge

                  The truth was revealed to the market over the course of a series of events and

 disclosures, each of which revealed that, contrary to Miller Energy and KPMG’s representations:

 (1) the Company did not have the ability to profitably produce meaningful amounts of oil from

 the Alaska Assets; (2) the Company’s valuations depended on patently untenable assumptions;

 (3) the valuation of the Alaska Assets was not based on fair market value; (4) KPMG was not

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 independent; (5) KPMG’s unqualified clean audit opinions were false; and (6) KPMG and Miller

 Energy had engaged in a years-long scheme to defraud investors.

                 Beginning in December 2013, and through the time it filed for bankruptcy, the

 truth that Miller Energy was a fraud, and the risks concealed by that fraud, including by KPMG’s

 participation in it, leaked out, were revealed, and materialized.

                 On December 17, 2013, a group of shareholders calling themselves “Concerned

 Miller Shareholders” sent an open letter decrying, among other things, management’s lack of

 expertise with respect to the Alaska Assets. On that day, the price of Miller Energy’s stock

 dropped from a closing price of $8.60 on December 16, 2013, to a closing price of $7.07 on

 December 19, 2013. During the same period, Series C Preferred Stock declined from a closing

 price of $26.35 to a closing price of $25.96, and Series D Preferred Stock declined from a

 closing price of $24.19, to a closing price of $23.84.

                 Then, on December 24, 2013, a report entitled “Miller Energy: Digging Itself Into

 Another Deep Hole?” was published by TheStreetSweeper. That report pointed out that Miller

 Energy was “a bleeding energy firm buried underneath a mountain of expensive debt.” It

 featured an interview with “Robert Chapman, the former boss of Miller President/Acting CFO

 David Voyticky,” who said that “Miller barely even resembles a normal energy firm since it

 focuses so much of its attention on raising capital that it seems to market its stock as its primary

 product while selling a little bit of oil on the side.”

                 Chapman explained that Miller Energy’s “gross production numbers are not big –

 they’re tiny – and the company is still cash-flow negative (from operations combined with

 necessary capitalized investments), so it has to keep selling this story about its monstrous

 reserves.” Chapman described the Company as “a preferred-stock issuance machine that seems



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 to be more in the business of raising money than making money,” and “it looks like a stock that’s

 driven by a myth.”

                As for the elevation of Voyticky – his former employee – to CFO, Chapman said

 that the Company had “placed its trust in an executive that (based on his own firsthand

 experience) lacks any substantial skills outside of his ability to raise capital by ‘smooth-talking

 investors and lenders into parting with their funds.’”

                The report analyzed several events relating to the valuations attached to the

 Alaska Assets. For instance, the report cited a October 31, 2013 press release titled “Miller

 Energy Resources Provides Update on Alaska Operations,” released on the very last day of the

 second quarter of fiscal year 2014, in which the Company claimed to have achieved “record oil

 sales with over 200,000 barrels sold” for the quarter ending October 31, 2013. However, the

 December 24 report noted that when the Company posted its actual results for that quarter on

 December 10, 2013, those results showed that the Company had not even produced that many

 barrels during that period.

                The report also cited a hedge fund manager who explained that one of the “levers

 that you can pull when you’re estimating to value of reserves to arrive at a really big number” is

 “how much it will cost you to produce it.” Of course, that is precisely one of the levers pulled by

 Miller Energy, and one that KPMG was complicit in concealing.

                 On and around this day, and on this news, risks or truth concealed by, or effects

 associated with, KPMG’s fraud were partially revealed, leaked out, or materialized, Miller

 Energy’s stock price fell from a closing price of $7.29 on December 23, 2013, to a closing price

 of $6.88 on December 26, 2013. During the same period, Series C Preferred Stock declined




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 from a closing price of $25.75, to a closing price of $22.62 and Series D Preferred Stock

 declined from a closing price of $23.50, to a closing price of $21.25.

                  On March 13, 2014, before trading began, the Company filed a Form 8-K,

 including its earnings release for the third quarter of fiscal year 2014. In that release, the

 Company announced an operating loss during the quarter of $6.6 million, a net loss of $6.8

 million, and earnings per share of $-0.15. It also announced increased expenses, including $5.8

 million in oil and gas operating expenses, and also increased DD&A expenses, both associated

 with the costs of extracting oil. The release also announced that the Company was taking on

 more debt.

                  After trading hours, an investor call was held to discuss those results. On the call

 were Boruff, Voytickey, Brawley, and Hall. The public transcript for this call was posted on

 March 14, 2014, at 6:40:09 PM.18 During that call, the Company was repeatedly pressed by

 multiple analysts about the costs and expenses associated with its operations and per barrel of oil,

 including with respect to two new Alaskan wells it had been touting, the RU-9 and the WMRU-

 2B wells. Hall revealed an estimate of $26 million for those two wells, while Boruff attempted to

 downplay operating costs more generally, including by downplaying the costs of extracting oil

 with the North Fork Unit, which the Company had recently acquired. The Company also fielded

 questions about disappointing oil production volumes on a previous well it had been touting, the

 RU-7 well. The Company also announced that it would be looking to acquire more assets in

 Alaska, including because it had “more capital availability,” i.e., more debt financing.

                  On and around this day, and on this news, risks or truth concealed by, or effects

 associated with, KPMG’s fraud were partially revealed, leaked out, or materialized, and as a


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           http://www.nasdaq.com/symbol/mill/call-transcripts.

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                                   3270
 result, and Miller Energy’s stock price fell from a closing price of $6.67 on March 12, 2014, to a

 closing price of $5.69 on March 17, 2014. During the same period, Series C Preferred Stock

 declined from a closing price of $25.75, to a closing price of $24.90 and Series D Preferred

 Stock declined from a closing price of $23.73, to a closing price of $23.65.

                On July 14, 2014, after trading hours, the Company filed its Form 10-K for the

 fiscal year 2014. Included with the filing was KPMG’s unqualified audit report, confirming that

 the Company’s financial statements “present fairly, in all material respects, the financial position

 of Miller Energy Resources, Inc. and subsidiaries,” including a whopping $644.8 million value

 in 2014 for the “Oil and Gas Properties, Net” item on the Company’s balance sheet, and the

 previous year’s $491.3 million value for that same item. Because the Company used the income

 approach to generate these figures, the costs associated with generating the anticipated income

 were critical to achieving such eye-popping valuations. In arriving at these valuations, however,

 fraudulent cost figures were used, which the Company and KPMG knew or recklessly

 disregarded.

                That same day, also after trading hours, the Company filed a Form 8-K attaching

 its earnings release for the fourth quarter and fiscal year ended April 30, 2014. In those filings,

 the Company reported increases in net loss and weaker than expected oil production.

                The following day, July 15, 2014, after trading hours, an investor call was held to

 discuss those results. During that call, CFO Brawley acknowledged that costs and expenses were

 high, including DD&A expenses, and acknowledged that poor net income and earnings per share

 numbers were items that “a number of our shareholders focus on.” Brawley also acknowledged

 that Miller Energy’s internal controls were still deficient, but touted the hiring of “a junior

 accountant with big four accounting experience” as a reason for investors to be optimistic.



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                During the question and answer period, the very first question asked related to the

 “complete cost for each well” that had been previously touted on the call, on a net basis,

 including tax rebates. However, neither Boruff nor Hall was able to provide complete answers.

                On and around this day, and on this news, risks or truth concealed by, or effects

 associated with, KPMG’s fraud were partially revealed, leaked out, or materialized, and as a

 result, Miller Energy’s stock price fell from a closing price of $5.79 on July 14, 2014, to a

 closing price of $4.95 on July 16, 2014. During the same period, Series C Preferred Stock

 declined from a closing price of $26.58, to a closing price of $26.50 and Series D Preferred

 Stock declined from a closing price of $25.79, to a closing price of $25.68

                On October 13, 2014, after trading hours, Reuters reported that Brean Capital, a

 firm’s whose analyst had been following Miller Energy closely, cut its price target of Miller

 Energy from $9 to $7. On and around this day, and on this news, risks or truth concealed by, or

 effects associated with, KPMG’s fraud were partially revealed, leaked out, or materialized, and

 as a result, Miller Energy’s stock price fell from a closing price of $3.58 on October 13, 2014, to

 a closing price of $3.12 on October 14, 2014. During the same period, Series C Preferred Stock

 declined from a closing price of $20, to a closing price of $17.76 and Series D Preferred Stock

 declined from a closing price of $21.21, to a closing price of $18.75.

                On November 26, 2014, Miller Energy stock began to become the subject of

 margin calls. Those margin calls were the foreseeable consequence of KPMG’s fraud, in that it

 was foreseeable that when the artificial inflation engendered by KPMG’s fraud would inevitably

 dissipate and would result in margin calls, as margin calls are standard and foreseeable features

 of securities markets. On and around this day, risks or truth concealed by, or effects associated

 with, KPMG’s fraud were partially revealed, leaked out, or materialized, in connection with



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 these margin calls, and the Company’s stock fell from a closing price of $3.16 on November 25,

 2014, to $1.59 on December 1, 2014. During the same period, Series C Preferred Stock declined

 from a closing price of $20.63, to a closing price of $18.06 and Series D Preferred Stock

 declined from a closing price of $20.22, to a closing price of $16.48.

                On November 28, 2014, after trading hours, Reuters reported that Brean Capital

 cut its price target for Miller Energy again from $7 to $6. On and around this day, and on this

 news, risks or truth concealed by, or effects associated with, KPMG’s fraud were partially

 revealed, leaked out, or materialized, and as a result, Miller Energy’s stock price fell from a

 closing price of $2.32 on November 28, 2014, to a closing price of $1.59 on December 1, 2014.

                On December 4, 2014, after trading hours, Miller Energy filed a Form 8-K

 revealing those margin calls, and Reuters reported that Imperial Capital, another firm with an

 analyst who had been following Miller Energy closely, cut its price target for Miller Energy from

 $7.50 to $2.50. On and around this day, and on this news, risks or truth concealed by, or effects

 associated with, KPMG’s fraud were partially revealed, leaked out, or materialized, and as a

 result, the Company’s stock price fell from a closing price of $1.67 on December 4, 2014, to

 $1.22 on December 8, 2014. During the same period, Series C Preferred Stock declined from a

 closing price of $18.18, to a closing price of $11.99 and Series D Preferred Stock declined from

 a closing price of $15.35, to a closing price of $10.00.

                On December 10, 2014, as the trading day began, Miller Energy filed a Form 8-K,

 attaching its earnings release for the second quarter of fiscal year 2015, ending October 31, 2014.

 In that release, the Company announced that during that quarter, it “recognized a $265.3 million

 non-cash impairment charge related to its Redoubt field proved and unproved properties. The

 proved and unproved properties were written down to their estimated fair value.” On an earnings



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 call that same day, CEO Giesler explained that “expense overruns,” i.e., costs, “factored into the

 impairment.” The Company also announced a loss of $285.7 million.

                 The Company also announced $9 million in lease operating expenses (“LOE”), a

 73% increase over the same quarter the previous year, as well as DD&A of $20.1 million, an

 increase of 123% compared to the same quarter the previous year.

                Also on December 10, 2014, and as a result of the impairment charges taken to

 the Alaska Assets, the Company announced modifications to its agreements with various lenders

 that, among other things, amended the Company’s leverage and interest covenants, increased the

 percentage of the value of the Company’s oil and gas properties that could be the subject of

 mortgages in favor of its lenders from 80% to 90%, eliminated restrictions on the sale of equity

 interests by Deloy Miller, and increased the applicable interest rates.

                On and around this day, and on this news, risks or truth concealed by, or effects

 associated with, KPMG’s fraud were partially revealed, leaked out, or materialized, and as a

 result Miller Energy’s stock price fell from a closing price of $1.35 on December 9, 2014, to

 close at $1.16 on December 10, 2014. Series C Preferred Stock declined from a closing price of

 $14.32 on December 9, 2014, to a closing price of $8.90 on December 16, 2014, and Series D

 Preferred Stock declined from a closing price of $12.75 on December 9, 2014, to a closing price

 of $8.10 on December 16, 2014.

                Then, on March 12, 2015, the Company revealed it was taking another $149.1

 million impairment charge on the Alaska Assets, increasing total impairment to $414.4 million.

 As a result of the impairment charges, Miller Energy again announced that it was being forced to

 modify its agreements with various lenders, added additional onerous requirements to the terms

 of various credit facilities, including, among other things, prioritizing certain cash flow for the



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 repayment of loan balances, interest rate increases, and the addition of various covenants relating

 to collateral, negatively impacting future cash flow. On and around this day, and on this news,

 risks or truth concealed by, or effects associated with, KPMG’s fraud were partially revealed,

 leaked out, or materialized, and as a result Miller Energy’s stock price fell from a closing price

 of $1.28 on March 12, 2015, to close at $1.16 on March 13, 2015. Series C Preferred Stock

 declined from a closing price of $12.20 on March 12, 2015, to a closing price of $10.61 on

 March 16, 2015, and the Series D Preferred Stock declined from a closing price of $9.99 on

 March 12, 2015, to a closing price of $8.31 on March 16, 2015.

                      On April 29, 2015, the Company filed a Form 8-K, attaching a press release in

 which it announced that it had received a “Wells Notice”19 from the SEC indicating that the

 agency staff had made a preliminary determination to recommend civil action against the

 Company related to its accounting for the Alaska Assets. On and around this day, and on this

 news, risks or truth concealed by, or effects associated with, KPMG’s fraud were partially

 revealed, leaked out, or materialized, and as a result Miller Energy’s stock price fell from a

 closing price of $0.92 on April 29, 2015, to close at $0.73 on April 30, 2015. Series C Preferred

 Stock declined from a closing price of $11.86 on April 29, 2015, to a closing price of $7.47 on

 May 1, 2015 and Series D Preferred Stock declined from a closing price of $9.50 on April 29,

 2015 to a closing price of $6.52 on May 1, 2015.

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              “A Wells notice is a communication from the staff to a person involved in an investigation
 that:
                (1) informs the person the staff has made a preliminary determination to
                recommend that the [SEC] file an action or institute a proceeding against them;
                (2) identifies the securities law violations that the staff has preliminarily
                determined to include in the recommendation; and (3) provides notice that the
                person may make a submission to the Division and the [SEC] concerning the
                proposed recommendation.” SEC Division of Enforcement, Enforcement
                Manual (October 28, 2016),
                https://www.sec.gov/divisions/enforcementmanual.pdf.

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                On May 6, 2015, the Company announced it was deferring dividend payments on

 its Series C and D Preferred Stock. On and around this day, and on this news, risks or truth

 concealed by, or effects associated with, KPMG’s fraud were partially revealed, leaked out, or

 materialized, and as a result Miller Energy’s stock price fell from a closing price of $0.65 on

 May 5, 2015, to close at $0.59 on May 6, 2015. Series C Preferred Stock declined from a closing

 price of $7.91 on May 5, 2015, to a closing price of $5.15 on May 6, 2015, and Series D

 Preferred Stock declined from a closing price of $6.48 on May 5, 2015 to a closing price of

 $4.64 on May 6, 2015.

                On May 12, 2015, the Company disclosed that the NYSE had notified it that its

 shares were subject to de-listing due to its having failed to maintain listing requirements.

                On July 14, 2015, Miller Energy filed a Form 8-K, attaching a press release in

 which it announced “substantial doubt about its ability to continue as a going concern.” On and

 around this day, and on this news, risks or truth concealed by, or effects associated with,

 KPMG’s fraud were revealed, leaked out, or materialized, and as a result the Company’s stock

 price fell from a closing price of $0.35 on July 13, 2015, to close at $0.21 on July 14, 2015.

 During the same period, Series C Preferred Stock declined from a closing price of $3.30, to a

 closing price of $1.18 and Series D Preferred Stock declined from a closing price of $3.24, to a

 closing price of $1.21.

                On July 30, 2015, after market close, Miller Energy disclosed that its common

 and preferred stock would be de-listed from the NYSE. On and around this day, and on this

 news, risks or truth concealed by, or effects associated with, KPMG’s fraud were revealed,

 leaked out, or materialized, and as a result the Company’s stock price fell from a closing price of

 $0.30 on July 29, 2015, to close at $0.11 on July 31, 2015. During the same period, Series C



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 Preferred Stock declined from a closing price of $1.60, to a closing price of $0.06 and Series D

 Preferred Stock declined from a closing price of $1.70, to a closing price of $0.55.

                 On August 6, 2015, Hall resigned his positions as COO of the Company and as

 CEO of CIE.       That same day, the SEC commenced an administrative proceeding (“SEC

 Enforcement Action”) against Miller Energy, Boyd, Hall, and Vogt, alleging fraudulent

 overvaluation of the Alaska Assets. Specifically, in its Order Instituting Public Administrative

 and Cease-and-Desist Proceedings filed that day, the SEC’s Division of Enforcement alleged that

 after acquiring the Alaska Assets in late 2009, Miller Energy overstated their value by more than

 $400 million, boosting the Company’s net income and total assets. According to the SEC, the

 allegedly inflated valuation had a significant impact, turning a penny-stock company into one

 that was eventually listed on the NYSE, where its common stock had reached a 2013 high of

 nearly $9 per share.

                 In a statement, William P. Hicks, Associate Regional Director of the SEC’s

 Atlanta office, stated, in pertinent part, as follows:

                 We’ve charged that Miller Energy falsified financial statement
                 information and grossly overstated the value of its Alaska assets
                 and that the company’s independent auditor failed to conduct an
                 audit that complied with professional standards . . . . The SEC will
                 aggressively prosecute such conduct.

                 The SEC sought and obtained, among other things, cease-and-desist orders, civil

 monetary penalties, and return of alleged ill-gotten gains from Miller Energy, Boyd, and Hall.

                 Also on August 6, 2015, in response to the SEC Enforcement Action, creditors of

 CIE filed an involuntary petition for bankruptcy in the United States Bankruptcy Court for the

 District of Alaska.

                 On October 1, 2015, Miller Energy itself filed for Chapter 11 bankruptcy, citing

 in large part the filing of the SEC Enforcement Action, which the Company’s senior executives

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 stated had torpedoed its ability to obtain $165 million in outside financing, along with the filing

 of an involuntary bankruptcy petition against its subsidiary CIE in August 2015 by creditors

 Baker Hughes Oilfield Operations, Inc. and Schlumberger Technology Corp., with total claims

 of $2.79 million. On and around this day, and on this news, risks or truth concealed by, or effects

 associated with, KPMG’s fraud were partially revealed, leaked out, or materialized, and as a

 result, the Company’s stock price fell from a closing price of $0.07 on September 30, 2015, to

 close at $0.03 on October 5, 2015. During the same period, Series C Preferred Stock declined

 from a closing price of $0.30, to a closing price of $0.04 and Series D Preferred Stock declined

 from a closing price of $0.21, to a closing price of $0.05.

                 On January 12, 2016, the SEC entered an Order Making Findings and Imposing a

 Cease-and-Desist Order and Penalties Pursuant to Section 8A of the Securities Act of 1933 and

 Section 21C of the Securities Exchange Act of 1934 as to Miller Energy Resources, Inc.

 (“January Order”). The January Order found as follows:

                the Company violated Section 17(a)(2)and (3) of the Securities Act which
                 prohibit fraudulent conduct in the offer or sale of securities;

                the Company violated Section 13(a) of the Exchange Act, and Rules 13a-1, 13a-
                 11, and 13a-13 thereunder, which require that every issuer of a security registered
                 pursuant to Exchange Act Section 12 file with the [SEC], among other things,
                 annual, current, and quarterly reports as the [SEC] may require;

                the Company violated Section 13(b)(2)(A) of the Exchange Act, which requires
                 reporting companies to make and keep books, records and accounts which, in
                 reasonable detail, accurately and fairly reflect their transactions and dispositions
                 of their assets;

                the Company violated Section 13(b)(2)(B) of the Exchange Act, which requires
                 all reporting companies to devise and maintain a system of internal accounting
                 controls sufficient to provide reasonable assurances that transactions are recorded
                 as necessary to permit preparation of financial statements in accordance with
                 GAAP; and

                the Company violated Rule 12b-20 under the Exchange Act which requires that,
                 in addition to the information expressly required to be included in a statement or

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                report filed with the [SEC], there shall be added such further material information,
                if any, as may be necessary to make the required statements, in light of the
                circumstances under which they are made not misleading.

                The Order included a cease-and-desist order and civil monetary penalties of $5

 million to be paid consistent with general unsecured claims under the “Joint Plan of

 Reorganization” (“Plan”), which was approved on January 28, 2016, by the United States

 Bankruptcy Court for the District of Alaska. On March 29, 2016, the “Effective Date” under the

 Plan, the Company filed a Form 8-K, announcing that “all equity interests in Miller will be

 cancelled, including outstanding shares of common stock, approximately 25,750 outstanding

 shares of Series B Redeemable Preferred Stock with a redemption value of $100 per share,

 approximately 3,250,000 outstanding shares of 10.75% Series C Cumulative Redeemable

 Preferred Stock with a redemption value of $25.00 per share, and approximately 3,499,723

 outstanding shares of 10.5% Series D Fixed Rate/Floating Rate Cumulative Redeemable

 Preferred Stock with a redemption value of $25.00 per share.”

                Also on March 29, 2016, the Company finally admitted the truth that the Alaska

 Assets were essentially worthless, and that the Company’s financials to the contrary were a sham

 that could not be relied upon:

                [T]he Company has conducted an asset impairment analysis on
                certain of its assets, . . . and after further review of financial
                information related to the valuation of the oil and gas properties
                acquired by the Company in Alaska in late 2009 and other
                accounting matters, the Company has concluded that its financial
                statements from prior years beginning in fiscal year 2010 should
                no longer be relied upon.

                On and around March 29, 2016, and on this news, risks or truth concealed by, or

 effects associated with, KPMG’s fraud were revealed, leaked out, or materialized, and as a result,

 Miller Energy’s stock was cancelled entirely, reducing their value to zero.



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                    On June 7, 2016, the SEC made findings and imposed remedial sanctions as to

 Boyd, Hall, and Vogt.

                    On August 16, 2017, the SEC revealed that it had conducted an investigation into

 KPMG’s role in the fraud as well, confirming that, as alleged herein, KPMG failed utterly in its

 professional duties, had engaged in “improper professional conduct,” and was therefore liable for

 “securities law violations” relating to its “revise and audit of the financial statements of Miller

 Energy Resources, Inc.” That same day, the SEC announced that the targets of that

 investigation—KPMG and Riordan—had settled with the SEC. The settlement required KPMG

 to pay a $1 million fine, disgorge $4,675,680 in fees and $558,319 in prejudgment interest. The

 KPMG Order also censured KPMG, and denied Riordan the privilege or appearing or practicing

 before the SEC Commission as an accountant. Unusually, the KPMG Order also required

 KPMG to, among other things:

             a. Perform a complete review and evaluation of its quality controls, including its
                policies and procedures for audits and interim reviews, including: (1) client
                acceptance and continuance practices, including client designation, retention, risk
                identification; (2) auditing fair value measurements and disclosures20; (3) use of
                specialists; (4) audit documentation; and (5) assessment of the expertise and technical
                proficiency of the audit team members and partners;

             b. Perform a complete review and evaluation of its training programs to provide
                reasonable assurance that its auditors have adequate technical training and proficiency
                in relation to: (1) valuations, auditing estimates, including fair value measurements;
                (2) use of engaged or employed and/or management specialists; and (3) fraud risks
                and fraud detection;

             c. Deliver a detailed written report to the SEC regarding the review set forth in subparts
                a and b above, which provides reasonable assurance and sufficient evidence of

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         Including, but not limited to: (i) considering the relevance, reliability and sufficiency of
 the factors and data used in forming the assumptions underlying estimates, (ii) evaluating the
 results of procedures performed, including whether the evidence obtained supports or contradicts
 the estimates included in the financial statements; (iii) considering and documenting estimates
 giving rise to significant risk based on projected financial information.



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                compliance with all relevant SEC Commissions regulations and PCAOB standards
                and rules, as well as the adequacy of its training program;

             d. Retain, at its own expense, an independent consultant to perform a review of and
                issue a report to both KPMG and the SEC on KPMG’s policies and procedures to
                determine whether such policies and procedures are adequate and sufficient to
                provide reasonable assurance of compliance with all relevant Commission regulations
                and PCAOB standards and rules, and whether KPMG’s training program is adequate.
                KPMG must then adopt all recommendations of the independent consultant in its
                review and certify to the SEC Commission that it has adopted and implemented or
                will implement all recommendations of the independent consultant, if any; and

             e. Annually certify for calendar years 2018 and 2019, through its Vice Chair, that
                KPMG has assessed whether its policies and procedures are adequate and sufficient to
                provide reasonable assurance of compliance with all relevant Commission regulations
                and PCAOB standards and rules.

                    As the SEC’s investigation into KPMG confirms, and as highlighted by the

 severity of the terms of KPMG’s settlement with the SEC, KPMG played a critical role in

 perpetuating the Miller Energy fraud. Every step of the way, KPMG’s conduct prevented Miller

 Energy’s fraud from being revealed to the investing public. KPMG’s conduct—which the SEC

 has now confirmed violated the federal securities laws—thus caused substantial losses to

 Plaintiffs and the Section 10(b) Class, and these losses were the foreseeable consequences of

 KPMG’s conduct.

                    For instance, had KPMG been truly independent and properly audited Miller

 Energy’s reports, the Company would not have been able to obtain the critical financing it

 needed to continue meeting its short-term obligations and to avoid bankruptcy.

                    KPMG’s imprimatur also lent much needed credibility to the valuation of the

 Alaska Assets in a variety of contexts, and was heavily relied upon by all market participants,

 including investors such as Plaintiffs and the Section 10(b) Class.

                    According to Gaylor, Riordan and Bennett went to Alaska for a meeting with

 investors, in which their sole function was to demonstrate to investors that KPMG was involved,


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 and that therefore Miller could be trusted. As another example, in a September 2012 earnings

 call with investors, Boruff touted the fact that Miller Energy “received the clean opinion from

 KPMG regarding our audited financials for the past two years” in his opening remarks as

 evidence of Miller Energy’s “having cured any remaining deficiencies in our other public

 filings,” and of “the improvements that we achieved in our financial reporting.” And, in a

 December 2012 earnings call with investors, Boruff again touted as evidence of Miller Energy’s

 financial credibility the fact that Miller Energy “worked closely with auditors and KPMG to

 achieve these improved results,” and the fact that Miller Energy “received a clean opinion from

 KPMG regarding our financials for the past two years.”

                  KPMG’s imprimatur was also critical to Miller Energy’s ability to access the

 financing that fueled the Company, whose paltry revenues never even came close to exceeding

 expenses.

                  All of these facts were known and foreseeable to KPMG. KPMG knew the value

 of its imprimatur to Miller Energy and the Company’s executives, creditors, and investors. It

 knew that, at any time during the Class Period, were it to subject the Alaska Assets to the high

 level scrutiny required of an independent public auditor, or to resign as independent auditor, or to

 issue anything other than a clean report, the house of cards that was Miller Energy would

 collapse, and cause massive and widespread losses. As a result, all the foregoing losses were a

 foreseeable consequence of KPMG’s misconduct.

             K.   Loss Causation

                  KPMG’s wrongful conduct, as alleged herein, directly and proximately caused the

 economic loss suffered by Plaintiffs and the Section 10(b) Class.




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                  Throughout the Class Period, the price of the Company’s securities was

 artificially-inflated and/or maintained at an artificially high level as a result of KPMG’s

 fraudulent statements, omissions, and conduct.

                  The price of the Company’s securities declined significantly, and the Company’s

 securities were eventually cancelled entirely, when the risks and truth concealed by KPMG’s

 fraud materialized, leaked, or were disclosed. Importantly, the price of the Company’s securities

 declined not just on the explicit revelation of new information, but also on the materialization of

 risks relating to the true costs associated with the Alaska Assets concealed by KPMG’s

 misconduct, and on the partial disclosure of aspects of the truth regarding Miller Energy’s

 inability to profitably produce oil from the Alaska Assets, as well as the true costs associated

 with the Alaska Assets. Accordingly, even if a particular event or disclosure set forth above did

 not fully or explicitly disclose the fraudulent overvaluation of the Alaska Assets itself, losses

 associated with it were still causally connected to KPMG’s misconduct, as explained below.

                  Throughout the Class Period, Miller Energy, with KPMG’s assistance, took on

 more debt and issued more equity, all on the promise of its balance sheet, i.e., on the valuation of

 the Alaska Assets. Meanwhile, it repeatedly missed earnings forecasts, failed to profitably

 generate meaningful revenue, and generated no profits or net income. Nevertheless, Miller

 Energy and KPMG were able to keep the Company’s stock price from falling to zero or very

 nearly zero, by fraudulently insisting to the market that the Alaska Assets had a fair market value

 several hundred million dollars higher than their actual fair market value, and even repeatedly

 doubled down on that fraud.

             L.   Inapplicability of the Statutory Safe Harbor

                  The statutory safe harbor applicable to forward-looking statements under certain

 circumstances does not apply to any of the false and misleading statements pled in this

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 Complaint. None of the misstatements and omissions complained of herein was a forward

 looking statement, nor were any of the statements identified as forward-looking when made.

 Rather, the false or misleading statements and omissions complained of in this Complaint

 concerned omissions of historical and/or current facts and conditions existing at the time the

 statements were made.

                  Alternatively, to the extent that any of the false or misleading statements alleged

 herein can be construed as forward-looking statements, they were not accompanied by any

 meaningful cautionary language identifying important facts that could cause actual results to

 differ materially from those in the purportedly forward-looking statements.

                  Alternatively, to the extent the statutory safe harbor would otherwise apply to any

 forward-looking statements pleaded herein, KPMG is liable for those false or misleading

 forward-looking statements because at the time those statements were made, KPMG knew the

 statement was false or misleading, or the statement was authorized and/or approved by a KPMG

 partner who knew or recklessly disregarded that the statement was materially false or misleading

 when made.

             M.   Presumption of Reliance

                  Plaintiffs are entitled to a presumption of reliance under Affiliated Ute Citizens of

 Utah v. U.S., 406 U.S. 128 (1972), because the claims asserted herein against KPMG are

 predicated in part upon material omissions of fact that KPMG had a duty to disclose.

                  In the alternative, Plaintiffs are entitled to a presumption of reliance on KPMG’s

 material misrepresentations and omissions pursuant to the fraud-on-the-market doctrine because,

 at all relevant times, the market for Miller Energy securities was open, efficient and well-

 developed for the following reasons, among others:



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             a. The market for Miller Energy securities was, at all relevant times, an efficient market
                that promptly digested current information with respect to the Company from all
                reliable, publicly-available sources and reflected such information in the price of
                Miller Energy securities;

             b. Miller Energy securities met the requirements for listing and were listed and actively
                traded on the NYSE and NASDAQ during the Class Period, highly efficient and
                automated markets;

             c. The Company was consistently followed, before and throughout the Class Period, by
                the media, which issued over 1,644 news stories regarding Miller Energy during the
                Class Period;

             d. Miller Energy was followed by numerous securities analysts employed by firms
                including Wunderlich Securities, Brean Capital, Imperial Capital, Caris & Company,
                SunTrust Robinson Humphrey Capital Markets, and MLV & Co., among others, who
                wrote reports about the Company and the value of its securities that were publicly
                available and entered the public marketplace during the Class Period. Indeed, there
                was extensive securities analyst coverage of Miller Energy, with at least several
                dozen analyst reports published during the Class Period;

             e. The price of Miller Energy securities reacted promptly to the dissemination of new
                information regarding the Company;

             f. Miller Energy securities were actively traded throughout the Class Period, with
                substantial trading volume and average weekly turnover and high institutional
                investor participation. The average daily trading volume for Miller Energy common
                stock during the Class Period was approximately 2,140,764 shares per week and the
                average weekly turnover was 4.88%. The average daily trading volume for the Miller
                Energy Series C Preferred Stock during the Class Period was approximately 108,000
                shares per week and the average weekly turnover was 4.62%, and the average daily
                trading volume for the Miller Energy Series D Preferred Stock during the Class
                Period was approximately 141,895 shares per week and the average weekly turnover
                was 10%;

             g. Miller Energy regularly communicated with public investors through established
                market communication mechanisms, including through regular press releases, which
                were carried by national and international news wires, and through other wide
                ranging public disclosures, such as communications and conferences with investors,
                the financial press and other similar reporting services;

             h. As a public company, Miller Energy filed period public reports with the SEC; and

             i. Miller Energy met the SEC’s requirements to register debt and equity securities filed
                on Form S-3 and, in fact, filed a Form S-3 in connection with the Offerings, among
                other SEC filings.



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                  As a result of the foregoing, the market for Miller Energy securities promptly

 digested current information regarding Miller Energy from all reliable, publicly available sources

 and reflected such information in the price of Miller Energy’s securities. Under these

 circumstances, purchasers of Miller Energy securities during the Class Period suffered injury

 through their purchases of Miller Energy securities at artificially-inflated prices and a

 presumption of reliance applies.

                  Accordingly, Plaintiffs and other members of the Section 10(b) Class did rely and

 are entitled to have relied upon the integrity of the market price for Miller Energy securities and

 to a presumption of reliance on Defendants’ materially false and misleading statements and

 omissions during the Class Period. Additionally, Plaintiffs are entitled to a presumption of

 reliance because the claims asserted herein against KPMG are also predicated upon omissions of

 material fact which there was a duty to disclose.

             N.   Claims for Relief Under the Exchange Act

                                            COUNT ONE
                  Violation of § 10(b) of the Securities Exchange Act of 1934 and
                             Rule 10b-5(b) Promulgated Thereunder

                  Plaintiffs repeat and re-allege the above paragraphs as though fully set forth

 herein.

                  This Count is brought solely and exclusively under the provisions of Rule 10b-

 5(b). KPMG alone, and acting in concert with others, directly and indirectly, by the use and

 means of instrumentalities of interstate commerce and of the mails, engaged and participated in a

 continuous course of conduct to conceal adverse material information about Miller Energy which

 resulted in misstatements and omissions of material facts in the Company’s financial reporting.

 KPMG employed devices, schemes, and artifices to defraud while in possession of material,

 adverse non-public information and engaged in acts, practices and a course of conduct that

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 included the making of, or participation in the making of, untrue and misleading statements of

 material facts and omitting to state material facts necessary in order to make the statements made

 about the Company not misleading.

                 KPMG knew, or was reckless in not knowing, that Miller Energy’s reported

 annual financial results for fiscal years ended April 30, 2011 through April 30, 2014, which were

 disseminated to the investing public, were materially overstated and were not presented in

 accordance with GAAP; and that the audits were not performed in accordance with GAAS and,

 therefore, each of KPMG’s unqualified audit reports were materially false and misleading.

                 KPMG knew, or should have known, that Miller Energy’s financial statements for

 the relevant period were materially false and misleading. As described above, KPMG failed to

 perform audits and reviews in accordance with accepted auditing principles and procedures.

                 As a result of KPMG’s clean opinions of Miller Energy’s misstated financial

 reports and KPMG’s own false and misleading statements and omissions in its unqualified audit

 reports, the market price of the Company’s securities were artificially-inflated throughout the

 Class Period.

                 All quarterly and annual filings by Miller Energy with the SEC (on which the

 public relies) from the third quarter of 2011 through the third quarter of 2015, were based on

 fraudulent valuations and materially-misstated the assets of Miller Energy.

                 KPMG, Miller Energy’s outside independent auditor throughout the Class Period,

 failed to detect these discrepancies and irregularities, or to take reasonable actions to correct

 them.




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                Had KPMG not violated principles and standards of GAAP and GAAS, it would

 have detected the fraudulent valuations and material misstatements in Miller Energy’s 2011-

 2014 financial statements.

                Instead, KPMG acted with knowledge or reckless disregard as to (a) the false and

 misleading nature of the certifications it provided, (b) the false and misleading nature of Miller

 Energy’s financial statements, (c) its failure to conduct proper audit tests and examinations of the

 books, records and financial statements of Miller Energy, and (d) the false representations that

 the financial statements had been properly audited in accordance with GAAS.

                In violation of GAAS, KPMG failed to expand the scope of its audits

 notwithstanding its knowledge or reckless ignorance of innumerable red flags that should have

 put it on notice of the massive over-valuation and misstatements by Miller Energy. KPMG had

 “a responsibility to plan and perform the audit to obtain reasonable assurance about whether the

 financial statements are free of material misstatement, whether caused by error or fraud.” SAS

 No. 1 (AU § 230) and SAS No. 82 (effective Dec. 15, 1997). If there is a material misstatement,

 whether by fraud or mistake, the auditors’ procedures need to be designed and performed to

 detect it. Further, the auditor is required to view the audit evidence with professional skepticism.

                KPMG knowingly or recklessly closed its eyes to the massive fraud detailed

 throughout this Complaint, which was ultimately detected by the SEC.

                In violation of GAAS, and contrary to the representations in its report on Miller

 Energy’s financial statements, KPMG also failed to obtain sufficient, competent, evidential

 matter to support the Company’s assertions regarding the valuation of the Alaska Assets.

 Moreover, KPMG, either deliberately or recklessly, ignored information indicating that the

 Company’s financial statements did not “present fairly” the Company’s true financial position.



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                In carrying out its engagement to audit the financial statements of Miller Energy

 and in rendering its unqualified report on those financial statements, KPMG violated, among

 others, the following GAAS standards:

                a.     The requirement that KPMG properly risk assess the Miller Energy
                       engagement. QC 20.14-15; see also ¶¶ 82-99;

                b.     The requirement that KPMG ensure adequate personnel, management,
                       competency, and proficiency on the Miller Energy engagement. QC 20.13,
                       QC 20.17, QC 40.02, QC 40.06, QC 40.08, AU § 161, AU § 210.01; see
                       also ¶¶ 100-03;

                c.     The requirement that KPMG properly plan the Miller Energy audits. AU
                       § 311.03, AU § 311.05-06, AU § 312.12-13, AU § 312.17, AS No. 9.7 ;
                       see also ¶¶ 104-06;

                d.     The requirement that KPMG adequately assess whether the valuation of
                       the Alaska Assets conformed with GAAP. AU § 328.03, AU § 328.09,
                       AU § 328.39-40, AU § 328.47, AU § 336.08-09, AU § 336.12, AU
                       § 342.07, AU § 342.10; see also ¶¶ 107-18;

                e.     The requirement that KPMG obtain competent evidence regarding the
                       assumptions on which Miller Energy’s valuation of the Alaska Assets was
                       based. AU § 315.12, AU § 326.15, AU § 326.21-22, AU § 326.25. AU
                       § 328.40; see also ¶¶ 119-36;

                f.     The requirement that KPMG exercise due professional care and
                       professional skepticism in connection with the Miller Energy audits. AU
                       § 230.01, AU § 230.07-09, AU § 316.13, AU § 722.01, AS No. 3.12. AS
                       No. 13; see also ¶¶ 137-49;

                g.     The requirement that KPMG properly supervise its engagement team. AU
                       § 311.01, AU § 311.12-13; see also ¶¶ 150-51;

                h.     The requirement that KPMG maintain its independence from Miller
                       Energy. AU § 220; see also ¶¶ 152-69.

                KPMG’s conduct represents an extreme departure from the professional standards

 that should have been applied. Had KPMG exercised due professional care and professional

 skepticism, it would have determined that Miller Energy’s valuation of the Alaska Assets were

 based on fiction and that the Company’s books and records were consistently falsified to conceal

 the true value of the Alaska Assets.

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                 KPMG knew that its reports would be relied upon by present and potential

 investors in Miller Energy securities.

                 Plaintiffs and other members of the Section 10(b) Class were ignorant of the fact

 that the market price of Miller Energy’s securities was artificially-inflated during the Class

 Period.     As a result, Plaintiff and other members of the Section 10(b) Class acquired the

 Company’s securities during the Class Period at artificially-high prices and were damaged

 thereby.

                 By virtue of the foregoing, KPMG violated Section 10(b) of the Exchange Act

 and Rule 10b-5(b) promulgated thereunder.

                 For the reasons set forth herein, KPMG is liable in whole or in part for the

 damages suffered by Plaintiffs and to Section 10(b) Class members.

                                           COUNT TWO
                        Violation of Section 10(b) of the Exchange Act and
                         Rule 10b-5(a) and (c) Promulgated Thereunder

                 Plaintiffs repeat and re-allege the above paragraphs as though fully set forth

 herein.

                 This Count is brought solely and exclusively under the provisions of Rule 10b-

 5(a) and (c). Accordingly, Plaintiffs need not allege in this Count nor prove in this case that

 KPMG made any misrepresentations or omissions of material fact for which it may also be liable

 under Rule 10b-5(b) and/or any other provisions of law.

                 During the Class Period, KPMG pursued an unlawful course of conduct that was

 intended to, and did: (i) deceive the investing public, including Plaintiffs and the Section 10(b)

 Class; (ii) artificially-inflate the market price of Miller Energy securities; and (iii) cause

 Plaintiffs to purchase the Company’s securities at artificially-inflated prices.



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                  In furtherance of this unlawful course of conduct, KPMG employed devices,

  schemes and artifices to defraud, and knowingly and/or recklessly engaged in acts, transactions,

  practices, and courses of business that operated as a fraud and deceit upon Plaintiffs and the

  Section 10(b) Class in connection with their purchases of Miller Energy securities, in violation of

  Section 10(b) of the Exchange Act and Rule 10b-5(a) and (c) promulgated thereunder.

                  KPMG’s fraudulent devices, schemes, artifices and deceptive acts, practices, and

  course of business included: (i) acting not as Miller Energy’s independent auditor, but as its

  bookkeeper and appraiser, and performing bookkeeping, appraisal, and valuations to justify the

  valuation assigned by Boruff and Miller Energy to the Alaska Assets; (ii) helping Miller Energy

  defend the valuation of the Alaska Assets to the SEC; and (iii) meeting with investors in order to

  enhance Miller Energy’s credibility.

                  During the Class Period, Plaintiffs and the Section 10(b) Class were unaware of

  KPMG’s conduct. Had Plaintiffs and the Section 10(b) Class known of the unlawful scheme and

  unlawful course of conduct, they would not have purchased Miller Energy securities, or if they

  had, would not have done so at the artificially-inflated prices paid for such securities.

                  As a direct and proximate result of KPMG’s conduct, as described herein,

  Plaintiffs and the Section 10(b) Class suffered damages in connection with their purchases of

  Miller Energy securities during the Class Period.

                  By reason of the foregoing, KPMG violated Section 10(b) of the Exchange Act

  and Rule 10b-5(a) and (c) promulgated thereunder, and is liable to Plaintiffs and the Section

  10(b) Class for damages suffered in connection with their purchases of Miller Energy securities

  during the Class Period.

  VI.         SECURITIES ACT ALLEGATIONS



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                    In the allegations and claims set forth in this part of the Complaint, Plaintiffs

  asserts a series of strict liability and negligence claims against the KPMG pursuant to the

  Securities Act on behalf of themselves and the Section 11 Class (as defined in ¶ 33 above).

                    Plaintiffs’ Securities Act claims are not based on any allegations of knowing or

  reckless misconduct on behalf of KPMG. Plaintiffs’ Securities Act claims do not allege, and do

  not sound in, fraud, and Plaintiffs specifically disclaim any reference to or reliance upon

  allegations of fraud in these non-fraud claims and allegations.

              A.    The Offering Documents

                    During the Class Period, the Company conducted six securities offerings through

  which it raised a total of approximately $77 million (the “Offerings”).

                    On or about September 6, 2012, Miller Energy filed a Form S-3 registration

  statement and prospectus using a “shelf” registration (“Shelf Registration Statement”). Under the

  Shelf Registration Statement, Miller Energy would offer for sale securities using future

  prospectus supplements, which would form part of the registration statement for those offerings.

  The Shelf Registration Statement became effective on September 18, 2012. The Shelf

  Registration Statement and prospectus supplements are referred to here as the “Offering

  Documents.”

                    During the Class Period, the Offerings were conducted pursuant to the September

  6, 2012 Shelf Registration Statement, as follows:

                  Date          Series       Price         Shares             Proceeds
              Feb. 13, 2013    Series C     $22.90         625,000           $14,312,500
               May 7, 2013     Series C     $22.25         500,000           $11,125,000
              June 27, 2013    Series C     $21.50         335,000            $7,202,500
              Sep. 25, 2013    Series D     $25.00        1,000,000          $25,000,000
                                            $23.95-
              Oct. 17, 2013    Series D                    70,448            $1,701,000
                                            $24.38
              Aug. 20, 2014    Series D     $24.50         750,000           $18,375,000

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                  The February 13, 2013 Preferred Stock Offering was marketed and sold to the

  public through the materially misstated Shelf Registration Statement, and prospectus supplement

  dated February 13, 2013, and filed with the SEC pursuant to Securities Act Rules 415 and

  424(b)(5), respectively.

                  The May 7, 2013 Preferred Stock Offering was marketed and sold to the public

  through the materially misstated Shelf Registration Statement, and prospectus supplement dated

  May 7, 2013, and filed with the SEC pursuant to Securities Act Rules 415 and 424(b)(5),

  respectively.

                  The June 27, 2013 Preferred Stock Offering was marketed and sold to the public

  through the materially misstated Shelf Registration Statement, and prospectus supplement dated

  June 27, 2013, and filed with the SEC pursuant to Securities Act Rules 415 and 424(b)(5),

  respectively.

                  The September 25, 2013 Preferred Stock Offering was marketed and sold to the

  public through the materially misstated Shelf Registration Statement, and prospectus supplement

  dated September 25, 2013, and filed with the SEC pursuant to Securities Act Rules 415 and

  424(b)(5), respectively.

                  The October 17, 2013 Preferred Stock Offering was marketed and sold to the

  public through the materially misstated Shelf Registration Statement, and prospectus supplement

  dated October 17, 2013, and filed with the SEC pursuant to Securities Act Rules 415 and

  424(b)(5), respectively.

                  The August 20, 2014 Preferred Stock Offering was marketed and sold to the

  public through the materially misstated Shelf Registration Statement, and prospectus supplement




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  dated August 20, 2014, and filed with the SEC pursuant to Securities Act Rules 415 and

  424(b)(5), respectively.

              B.   False and Misleading Statements in the Offering Documents


                   The financial information incorporated by reference into the Offering Documents,

  including the internal control-related representations and unqualified audit reports, contained

  untrue statements of material fact, or omitted to disclose material facts required to be stated

  therein or necessary to make the statements therein not misleading.

                   As the SEC has found, the financial information contained in Miller Energy’s

  financial statements was not prepared in conformity with GAAP and GAAS requirements, and

  did not accurately present the value of Miller Energy’s Alaska Assets.

                   The Offering Documents for each Offering incorporated by reference therein the

  following materially misleading SEC filings by Miller Energy:

                         Annual Report on Form 10-K for the year ended April 30, 2012 as filed on
                          July 16, 2012 and amended on August 28, 2012, and further amended on
                          September 6, 2012);

                         Current Report on Form 8-K as filed on July 17, 2012;

                         Current Report on Form 8-K as filed on July 26, 2012;

                         Current Report on Form 8-K as filed on July 27, 2012 and amended on
                          August 1, 2012;

                         Current Report on Form 8-K as filed on July 31, 2012;

                         Current Report on Form 8-K as filed on August 1, 2012;

                         Current Report on Form 8-K as filed on August 17, 2012;

                         Current Report on Form 8-K/A as filed on August 27, 2012; and

                         Current Report on Form 8-K as filed on September 4, 2012.




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                The Offering Documents for each Offering also contained the following statement

  under the heading “Experts”:

                The consolidated financial statements of Miller Energy Resources,
                Inc. and subsidiaries as of April 30, 2012 and 2011, and for the
                years then ended, have been incorporated by reference herein in
                reliance upon the reports of KPMG LLP, independent registered
                accounting firm, incorporated by reference herein, and upon the
                authority of such firm as experts in accounting and auditing.

                They also each contain the following statement by KPMG:

                We consent to the use of our reports dated July 16, 2012, with
                respect to the consolidated balance sheets of Miller Energy
                Resources, Inc. and subsidiaries as of April 30, 2012 and 2011, and
                the related consolidated statements of operations, stockholders’
                equity, and cash flows for the years then ended, and the
                effectiveness of internal control over financial reporting as of April
                30, 2012, incorporated by reference herein and to the reference to
                our firm under the heading “Experts” in the prospectus.

                /s/ KPMG LLP

                Knoxville, Tennessee

                September 5, 2012

                The reports incorporated by reference, in turn, stated as follows.

                For the fiscal year ended April 30, 2011:

                We have audited the accompanying consolidated balance sheet of
                Miller Energy Resources, Inc. and subsidiaries (the Company) as
                of April 30, 2011, and the related consolidated statements of
                operations, stockholders’ equity, and cash flows for the year ended
                April 30, 2011. These consolidated financial statements are the
                responsibility of the Company’s management. Our responsibility is
                to express an opinion on these consolidated financial statements
                based on our audit.

                We conducted our audit in accordance with the standards of the
                Public Company Accounting Oversight Board (United States).
                Those standards require that we plan and perform the audit to
                obtain reasonable assurance about whether the financial statements
                are free of material misstatement. An audit includes examining, on
                a test basis, evidence supporting the amounts and disclosures in the


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              financial statements. An audit also includes assessing the
              accounting principles used and significant estimates made by
              management, as well as evaluating the overall financial statement
              presentation. We believe that our audit provides a reasonable basis
              for our opinion.

              In our opinion, the consolidated financial statements referred to
              above present fairly, in all material respects, the financial position
              of Miller Energy Resources, Inc. and subsidiaries as of April 30,
              2011, and the results of their operations and their cash flows for
              the year ended April 30, 2011, in conformity with U.S. generally
              accepted accounting principles.

              For the fiscal year ended April 30, 2012:

              We have audited the accompanying consolidated balance sheets of
              Miller Energy Resources, Inc. and subsidiaries (the Company) as
              of April 30, 2012 and 2011, and the related consolidated
              statements of operations, stockholders’ equity, and cash flows for
              the years then ended. These consolidated financial statements are
              the responsibility of the Company’s management. Our
              responsibility is to express an opinion on these consolidated
              financial statements based on our audits.

              We conducted our audits in accordance with the standards of the
              Public Company Accounting Oversight Board (United States).
              Those standards require that we plan and perform the audit to
              obtain reasonable assurance about whether the financial statements
              are free of material misstatement. An audit includes examining, on
              a test basis, evidence supporting the amounts and disclosures in the
              financial statements. An audit also includes assessing the
              accounting principles used and significant estimates made by
              management, as well as evaluating the overall financial statement
              presentation. We believe that our audits provide a reasonable basis
              for our opinion.

              In our opinion, the consolidated financial statements referred to
              above present fairly, in all material respects, the financial position
              of Miller Energy Resources, Inc. and subsidiaries as of April 30,
              2012 and 2011, and the results of their operations and their cash
              flows for the years then ended, in conformity with U.S. generally
              accepted accounting principles.

              We also have audited, in accordance with the standards of the
              Public Company Accounting Oversight Board (United States),
              Miller Energy Resources, Inc.’s internal control over financial
              reporting as of April 30, 2012, based on criteria established in

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              Internal Control - Integrated Framework issued by the Committee
              of Sponsoring Organization of the Treadway Commission
              (COSO), and our report dated July 16, 2012 expressed an adverse
              opinion on the effectiveness of the Company’s internal control
              over financial reporting

              Also for the fiscal year ended April 30, 2012:

              We have audited Miller Energy Resources, Inc.’s and subsidiaries
              (the Company) internal control over financial reporting as of April
              30, 2012, based on criteria established in Internal Control
              Integrated Framework issued by the Committee of Sponsoring
              Organizations of the Treadway Commission (COSO). The
              Company’s management is responsible for maintaining effective
              internal control over financial reporting and for its assessment of
              the effectiveness of internal control over financial reporting,
              included in the accompanying Management’s Report on Internal
              Control over Financial Reporting (Item 9A(b)). Our responsibility
              is to express an opinion on the Company’s internal control over
              financial reporting based on our audit.

              We conducted our audit in accordance with the standards of the
              Public Company Accounting Oversight Board (United States).
              Those standards require that we plan and perform the audit to
              obtain reasonable assurance about whether effective internal
              control over financial reporting was maintained in all material
              respects. Our audit included obtaining an understanding of internal
              control over financial reporting, assessing the risk that a material
              weakness exists, and testing and evaluating the design and
              operating effectiveness of internal control based on the assessed
              risk. Our audit also included performing such other procedures as
              we considered necessary in the circumstances. We believe that our
              audit provides a reasonable basis for our opinion.

              A company’s internal control over financial reporting is a process
              designed to provide reasonable assurance regarding the reliability
              of financial reporting and the preparation of financial statements
              for external purposes in accordance with generally accepted
              accounting principles. A company’s internal control over financial
              reporting includes those policies and procedures that (1) pertain to
              the maintenance of records that, in reasonable detail, accurately
              and fairly reflect the transactions and dispositions of the assets of
              the company; (2) provide reasonable assurance that transactions
              are recorded as necessary to permit preparation of financial
              statements in accordance with generally accepted accounting
              principles, and that receipts and expenditures of the company are
              being made only in accordance with authorizations of management

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                and directors of the company; and (3) provide reasonable
                assurance regarding prevention or timely detection of unauthorized
                acquisition, use, or disposition of the company’s assets that could
                have a material effect on the financial statements.

                Because of its inherent limitations, internal control over financial
                reporting may not prevent or detect misstatements. Also,
                projections of any evaluation of effectiveness to future periods are
                subject to the risk that controls may become inadequate because of
                changes in conditions, or that the degree of compliance with the
                policies or procedures may deteriorate.

                A material weakness is a deficiency, or a combination of
                deficiencies, in internal control over financial reporting, such that
                there is a reasonable possibility that a material misstatement of the
                company’s annual or interim financial statements will not be
                prevented or detected on a timely basis. A material weakness
                related to an insufficient complement of corporate accounting and
                finance personnel to consistently operate management review
                controls has been identified and included in management’s
                assessment.

                We also have audited, in accordance with the standards of the
                Public Company Accounting Oversight Board (United States), the
                consolidated balance sheets of Miller Energy Resources, Inc. and
                subsidiaries as of April 30, 2012 and 2011, and the related
                consolidated statements of operations, stockholders’ equity, and
                cash flows for the years then ended. This material weakness was
                considered in determining the nature, timing, and extent of audit
                tests applied in our audit of the 2012 consolidated financial
                statements, and this report does not affect our report dated July 16,
                2012, which expressed an unqualified opinion on those
                consolidated financial statements.

                In our opinion, because of the effect of the aforementioned
                material weakness on the achievement of the objectives of the
                control criteria, the Company has not maintained effective internal
                control over financial reporting as of April 30, 2012, based on the
                criteria established in Internal Control - Integrated Framework
                issued by the COSO.

                The June 27, 2013, September 25, 2013, and October 17, 2013 Offering

  Documents each also contained the following statement, under the heading “Experts”:

                The consolidated financial statements of Miller Energy Resources,
                Inc. and subsidiaries as of April 30, 2013 and 2012, and for each of

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                the years in the three-year period ended April 30, 2013, have been
                incorporated by reference herein in reliance upon the reports of
                KPMG LLP, independent registered accounting firm, incorporated
                by reference herein, and upon the authority of such firm as experts
                in accounting and auditing.

                In addition to the reports described in ¶¶ 298-301, the reports incorporated by

  reference in these Offering Documents stated as follows.

                For the fiscal year ended April 30, 2013:

                We have audited the accompanying consolidated balance sheets of
                Miller Energy Resources, Inc. and subsidiaries (the Company) as
                of April 30, 2013 and 2012, and the related consolidated
                statements of operations, stockholders’ equity, and cash flows for
                each of the years in the three-year period ended April 30, 2013.
                These consolidated financial statements are the responsibility of
                the Company’s management. Our responsibility is to express an
                opinion on these consolidated financial statements based on our
                audits.

                We conducted our audits in accordance with the standards of the
                Public Company Accounting Oversight Board (United States).
                Those standards require that we plan and perform the audit to
                obtain reasonable assurance about whether the financial statements
                are free of material misstatement. An audit includes examining, on
                a test basis, evidence supporting the amounts and disclosures in the
                financial statements. An audit also includes assessing the
                accounting principles used and significant estimates made by
                management, as well as evaluating the overall financial statement
                presentation. We believe that our audits provide a reasonable basis
                for our opinion.

                In our opinion, the consolidated financial statements referred to
                above present fairly, in all material respects, the financial position
                of Miller Energy Resources, Inc. and subsidiaries as of April 30,
                2013 and 2012, and the results of their operations and their cash
                flows for each of the years in the three-year period ended April 30,
                2013, in conformity with U.S. generally accepted accounting
                principles.

                We also have audited, in accordance with the standards of the
                Public Company Accounting Oversight Board (United States),
                Miller Energy Resources, Inc.’s internal control over financial
                reporting as of April 30, 2013, based on criteria established in
                Internal Control - Integrated Framework issued by the Committee

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                                    3299
              of Sponsoring Organization of the Treadway Commission
              (COSO), and our report dated July 15, 2013 expressed an adverse
              opinion on the effectiveness of the Company’s internal control
              over financial reporting.

              Also for the fiscal year ended April 30, 2013:

              We have audited Miller Energy Resources, Inc.’s and subsidiaries
              (the Company) internal control over financial reporting as of April
              30, 2013, based on criteria established in Internal Control
              Integrated Framework issued by the Committee of Sponsoring
              Organizations of the Treadway Commission (COSO). The
              Company’s management is responsible for maintaining effective
              internal control over financial reporting and for its assessment of
              the effectiveness of internal control over financial reporting,
              included in the accompanying Management’s Report on Internal
              Control over Financial Reporting (Item 9A(b)). Our responsibility
              is to express an opinion on the Company’s internal control over
              financial reporting based on our audit.

              We conducted our audit in accordance with the standards of the
              Public Company Accounting Oversight Board (United States).
              Those standards require that we plan and perform the audit to
              obtain reasonable assurance about whether effective internal
              control over financial reporting was maintained in all material
              respects. Our audit included obtaining an understanding of internal
              control over financial reporting, assessing the risk that a material
              weakness exists, and testing and evaluating the design and
              operating effectiveness of internal control based on the assessed
              risk. Our audit also included performing such other procedures as
              we considered necessary in the circumstances. We believe that our
              audit provides a reasonable basis for our opinion.

              A company’s internal control over financial reporting is a process
              designed to provide reasonable assurance regarding the reliability
              of financial reporting and the preparation of financial statements
              for external purposes in accordance with generally accepted
              accounting principles. A company’s internal control over financial
              reporting includes those policies and procedures that (1) pertain to
              the maintenance of records that, in reasonable detail, accurately
              and fairly reflect the transactions and dispositions of the assets of
              the company; (2) provide reasonable assurance that transactions
              are recorded as necessary to permit preparation of financial
              statements in accordance with generally accepted accounting
              principles, and that receipts and expenditures of the company are
              being made only in accordance with authorizations of management
              and directors of the company; and (3) provide reasonable

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                                    3300
                assurance regarding prevention or timely detection of unauthorized
                acquisition, use, or disposition of the company’s assets that could
                have a material effect on the financial statements.

                Because of its inherent limitations, internal control over financial
                reporting may not prevent or detect misstatements. Also,
                projections of any evaluation of effectiveness to future periods are
                subject to the risk that controls may become inadequate because of
                changes in conditions, or that the degree of compliance with the
                policies or procedures may deteriorate.

                A material weakness is a deficiency, or a combination of
                deficiencies, in internal control over financial reporting, such that
                there is a reasonable possibility that a material misstatement of the
                company’s annual or interim financial statements will not be
                prevented or detected on a timely basis. A material weakness
                related to an insufficient complement of corporate accounting and
                finance personnel to consistently operate management review
                controls has been identified and included in management’s
                assessment.

                We also have audited, in accordance with the standards of the
                Public Company Accounting Oversight Board (United States), the
                consolidated balance sheets of Miller Energy Resources, Inc. and
                subsidiaries as of April 30, 2013 and 2012, and the related
                consolidated statements of operations, stockholders’ equity, and
                cash flows for each of the years in the three-year period ended
                April 30, 2013. This material weakness was considered in
                determining the nature, timing, and extent of audit tests applied in
                our audit of the 2013 consolidated financial statements, and this
                report does not affect our report dated July 15, 2013, which
                expressed an unqualified opinion on those consolidated financial
                statements.

                In our opinion, because of the effect of the aforementioned
                material weakness on the achievement of the objectives of the
                control criteria, the Company has not maintained effective internal
                control over financial reporting as of April 30, 2013, based on the
                criteria established in Internal Control - Integrated Framework
                issued by the COSO.

                The August 20, 2014 Offering Documents also contained the following statement,

  under the heading “Experts”:

                The consolidated financial statements of Miller Energy Resources,
                Inc. and subsidiaries as of April 30, 2014 and 2013 and for each of

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                                    3301
                 the years in the three-year period ended April 30, 2014, have been
                 incorporated by reference herein in reliance upon the reports of
                 KPMG LLP, independent registered accounting firm, incorporated
                 by reference herein, and upon the authority of such firm as experts
                 in accounting and auditing.

                 Thus, in addition to the reports incorporated into the prior Offering Documents,

  the reports incorporated by reference in this Offering Document stated as follows.

                 For the fiscal year ended April 30, 2014:

                 We have audited the accompanying consolidated balance sheets of
                 Miller Energy Resources, Inc. and subsidiaries (the Company) as
                 of April 30, 2014 and 2013, and the related consolidated
                 statements of operations, stockholders’ equity, and cash flows for
                 each of the years in the three-year period ended April 30, 2014.
                 These consolidated financial statements are the responsibility of
                 the Company’s management. Our responsibility is to express an
                 opinion on these consolidated financial statements based on our
                 audits.

                 We conducted our audits in accordance with the standards of the
                 Public Company Accounting Oversight Board (United States).
                 Those standards require that we plan and perform the audit to
                 obtain reasonable assurance about whether the financial statements
                 are free of material misstatement. An audit includes examining, on
                 a test basis, evidence supporting the amounts and disclosures in the
                 financial statements. An audit also includes assessing the
                 accounting principles used and significant estimates made by
                 management, as well as evaluating the overall financial statement
                 presentation. We believe that our audits provide a reasonable basis
                 for our opinion.

                 In our opinion, the consolidated financial statements referred to
                 above present fairly, in all material respects, the financial position
                 of Miller Energy Resources, Inc. and subsidiaries as of April 30,
                 2014 and 2013, and the results of their operations and their cash
                 flows for each of the years in the three-year period ended April 30,
                 2014, in conformity with U.S. generally accepted accounting
                 principles.

                 We also have audited, in accordance with the standards of the
                 Public Company Accounting Oversight Board (United States),
                 Miller Energy Resources, Inc.’s internal control over financial
                 reporting as of April 30, 2013, based on criteria established in
                 Internal Control - Integrated Framework (1992) issued by the

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                                    3302
              Committee of Sponsoring Organization of the Treadway
              Commission, and our report dated July 14, 2014 expressed an
              adverse opinion on the effectiveness of the Company’s internal
              control over financial reporting.

              Also for the fiscal year ended April 30, 2014:

              We have audited Miller Energy Resources, Inc.’s and subsidiaries
              (the Company) internal control over financial reporting as of April
              30, 2014, based on criteria established in Internal Control
              Integrated Framework (1992) issued by the Committee of
              Sponsoring Organizations of the Treadway Commission (COSO).
              The Company’s management is responsible for maintaining
              effective internal control over financial reporting and for its
              assessment of the effectiveness of internal control over financial
              reporting, included in the accompanying Management’s Report on
              Internal Control over Financial Reporting (Item 9A(b)). Our
              responsibility is to express an opinion on the Company’s internal
              control over financial reporting based on our audit.

              We conducted our audit in accordance with the standards of the
              Public Company Accounting Oversight Board (United States).
              Those standards require that we plan and perform the audit to
              obtain reasonable assurance about whether effective internal
              control over financial reporting was maintained in all material
              respects. Our audit included obtaining an understanding of internal
              control over financial reporting, assessing the risk that a material
              weakness exists, and testing and evaluating the design and
              operating effectiveness of internal control based on the assessed
              risk. Our audit also included performing such other procedures as
              we considered necessary in the circumstances. We believe that our
              audit provides a reasonable basis for our opinion.

              A company’s internal control over financial reporting is a process
              designed to provide reasonable assurance regarding the reliability
              of financial reporting and the preparation of financial statements
              for external purposes in accordance with generally accepted
              accounting principles. A company’s internal control over financial
              reporting includes those policies and procedures that (1) pertain to
              the maintenance of records that, in reasonable detail, accurately
              and fairly reflect the transactions and dispositions of the assets of
              the company; (2) provide reasonable assurance that transactions
              are recorded as necessary to permit preparation of financial
              statements in accordance with generally accepted accounting
              principles, and that receipts and expenditures of the company are
              being made only in accordance with authorizations of management
              and directors of the company; and (3) provide reasonable

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                 assurance regarding prevention or timely detection of unauthorized
                 acquisition, use, or disposition of the company’s assets that could
                 have a material effect on the financial statements.

                 Because of its inherent limitations, internal control over financial
                 reporting may not prevent or detect misstatements. Also,
                 projections of any evaluation of effectiveness to future periods are
                 subject to the risk that controls may become inadequate because of
                 changes in conditions, or that the degree of compliance with the
                 policies or procedures may deteriorate.

                 A material weakness is a deficiency, or a combination of
                 deficiencies, in internal control over financial reporting, such that
                 there is a reasonable possibility that a material misstatement of the
                 company’s annual or interim financial statements will not be
                 prevented or detected on a timely basis. A material weakness
                 related to an insufficient complement of corporate accounting and
                 finance personnel to consistently operate management review
                 controls has been identified and included in management’s
                 assessment.

                 We also have audited, in accordance with the standards of the
                 Public Company Accounting Oversight Board (United States), the
                 consolidated balance sheets of Miller Energy Resources, Inc. and
                 subsidiaries as of April 30, 2014 and 2013, and the related
                 consolidated statements of operations, stockholders’ equity, and
                 cash flows for each of the years in the three-year period ended
                 April 30, 2014. This material weakness was considered in
                 determining the nature, timing, and extent of audit tests applied in
                 our audit of the 2014 consolidated financial statements, and this
                 report does not affect our report dated July 14, 2014, which
                 expressed an unqualified opinion on those consolidated financial
                 statements.

                 In our opinion, because of the effect of the aforementioned
                 material weakness on the achievement of the objectives of the
                 control criteria, the Company has not maintained effective internal
                 control over financial reporting as of April 30, 2014, based on the
                 criteria established in Internal Control - Integrated Framework
                 (1992) issued by the COSO.


                 The Offering Documents statements were materially misleading, contained untrue

  statements of fact, and omitted to state facts necessary to make the Offering Documents not

  misleading, and omitted required material facts, including as follows:


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                                    3304
                a.     KPMG did not conduct any of its audits in accordance with GAAS or the
                       standards of the PCAOB;

                b.     The financial statements referred to in these statements all contained
                       material errors;

                c.     The financial statements referred to in these statements did not conform
                       with GAAP;

                d.     KPMG lacked any reasonable basis for its opinion that the financial
                       statements referred to in these statements were accurate;

                e.     KPMG’s statements regarding Miller Energy’s internal control
                       weaknesses falsely stated that KPMG took those weaknesses into account
                       when auditing Miller Energy’s financial statements; and

                f.     KPMG’s statements regarding Miller Energy’s internal control
                       weaknesses omitted to disclose that those weaknesses resulted in material
                       inaccuracies in Miller Energy’s financial statements.

                In addition, the foregoing statements were false and misleading because, as the

  SEC subsequently determined, Miller Energy’s financial reports for Forms 10-Q for the third

  quarter of fiscal year 2010 and for the first three quarters of fiscal years 2011 through 2015;

  Forms 10-K for fiscal years ended 2010 through 2014; the Form S-1 filed on August 8, 2010;

  Forms S-3 filed on September 6, 2012 and October 5, 2012; and prospectuses filed between

  August 25, 2010 and August 20, 2014 pursuant to Rule 424, all “materially misstated the value

  of its assets.” KPMG Order at 5.

                Specifically, the SEC found, among other things, that: (1) KPMG’s valuation of

  the Alaska Assets at an “inflated value of $480 million . . . violated generally accepted

  accounting principles (“GAAP”) and overstated the fair value of the assets by hundreds of

  millions of dollars”; (2) KPMG “failed to comply with standards promulgated by the Public

  Company Accounting Oversight Board (“PCAOB”), chiefly with respect to the procedures

  relating to the oil and gas properties that contained the overstated asset values”; (3) KPMG

  “failed to obtain sufficient competent evidence regarding the impact of the opening balances of


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  the Alaska Assets, despite knowing that no proper fair value assessment had been performed by

  management”; (4) KPMG “failed to appropriately consider the facts leading to Miller Energy’s

  acquisition of the Alaska Assets, including the multiple offers received for those assets and the

  “abandonment” of the assets by the prior owner” in valuing the Alaska Assets; (5) KPMG “failed

  to sufficiently review certain forecasted costs associated with the estimation of the fair value of

  the Alaska Assets, which were understated, and to detect that certain fixed assets were double

  counted in the company’s valuation”; (6) KPMG “failed to properly assess the risks associated

  with accepting Miller Energy as a client and to properly staff the audit”; (7) KPMG “overlooked

  evidence that indicated a possible overvaluation of the Alaska Assets”; (8) KPMG “failed to

  exercise the requisite degree of due professional care and skepticism” in auditing Miller

  Energy”; and (9) even after KPMG management and national office personnel became aware of

  the unusual and highly material valuation of the Alaska Assets, KPMG failed to “take sufficient

  action to determine that an appropriate response was taken by the engagement team regarding the

  risk of overvaluation of the Alaska Assets.”

                   Because KPMG consented to being named as having certified the false and

  misleading financial statements used in connection with the Offering Documents, KPMG is

  strictly liable under Section 11 for those false and misleading financial statements.

              C.   Claim for Relief Under the Securities Act

                   In each of the six offerings alleged in Counts III below, plaintiffs and members of

  the Section 11 Class acquired securities in or traceable to the Shelf Registration Statement. As a

  direct and proximate result of misrepresentations and/or omissions therein, Plaintiffs and the

  Section 11 Class members suffered substantial damage in connection with their acquisition of the

  securities described herein. As a result of the conduct herein alleged, KPMG violated §11 of the

  1933 Act.

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                  At the time of their acquisition of the securities issued in the Offerings, Plaintiffs

  and the other Section 11 Class members were not aware of the untrue or misleading nature of the

  statements and/or the omissions alleged herein and could not have reasonably discovered such

  untruths or omissions before August 6, 2015.

                                          COUNT THREE
                             Violation of Section 11 of the Securities Act

                  Plaintiffs repeat and re-allege paragraphs 282 through 315 only as though fully set

  forth herein.

                  This Count is brought in connection with each of the Offerings (except for the

  February 13, 2013 Offering) and the Offering Documents solely and exclusively under Section

  11 of the Securities Act, 15 U.S.C. § 77k, for strict liability against KPMG.

                  KPMG consented to the incorporation of its unqualified auditor’s reports

  regarding Miller Energy’s financial statements and internal controls into the Offering

  Documents. Specifically, KPMG consented to the incorporation into the Offering Documents of

  its unqualified auditor’s report on Miller Energy’s financial statements included in Miller

  Energy’s Form 10-Ks for the fiscal years ending April 30, 2011, April 30, 2012, April 30, 2013,

  and April 30, 2014.

                  The Offering Documents were materially misleading, contained untrue statements

  of fact, and omitted to state facts necessary to make the Offering Documents not misleading, and

  omitted required material facts, including because:

                  a.     KPMG did not conduct any of its audits in accordance with GAAS or the
                         standards of the PCAOB;

                  b.     The financial statements referred to in these statements all contained
                         material errors;

                  c.     The financial statements referred to in these statements did not conform
                         with GAAP;

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                 d.     KPMG lacked any reasonable basis for its opinion that the financial
                        statements referred to in these statements were accurate;

                 e.     KPMG’s statements regarding Miller Energy’s internal control
                        weaknesses falsely stated that KPMG took those weaknesses into account
                        when auditing Miller Energy’s financial statements; and

                 f.     KPMG’s statements regarding Miller Energy’s internal control
                        weaknesses omitted to disclose that those weaknesses resulted in material
                        inaccuracies in Miller Energy’s financial statements.

                 KPMG owed to the purchasers of the securities offered in the Offerings the duty

  to make a reasonable and diligent investigation of the statements it consented to including in the

  Offering Documents to ensure that said statements were true and that there were no omissions of

  material facts which rendered the statements therein materially false and misleading. KPMG did

  not make a reasonable investigation or possess reasonable grounds to believe that said statements

  were true and without omissions of any material facts and were not misleading. Accordingly,

  KPMG acted negligently and is therefore liable to Plaintiffs and the other members of the

  Section 11 Class.

                 KPMG did not make a reasonable investigation or possess reasonable grounds for

  the belief that the statements contained in the Offering Documents as set out above were accurate

  and complete in all material respects. Had KPMG exercised reasonable care, it would have

  known of the material misstatements and omissions alleged herein.

                 Plaintiffs and the other members of the Section 11 Class sustained damages as the

  value of Miller Energy’s Series C and Series D Preferred Stock declined substantially subsequent

  to and due to KPMG’s violations of Section 11 of the Securities Act.

                 This action was brought within one year after the discovery of the untrue

  statements and omissions, and within three years after the Offering Documents became effective.




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                    KPMG utilized national securities exchanges, the mails, telephones and other

  instruments of interstate commerce in connection with the offering and sale of Miller Energy’s

  Series C and Series D Preferred Stock.

                    By reason of the foregoing, KPMG is liable for violations of Section 11 of the

  Securities Act to Plaintiffs and the other members of the Section 11 Class, each of whom has

  been damaged by reason of such violations

                    At the time of the Offerings, Plaintiffs and other members of the Section 11 Class

  were ignorant of the falsity of the Offering Documents, and believed them to be accurate, and

  although certain information regarding their falsity had begun to leak out to the public before the

  August 2014 Offering, the full truth had yet to be disclosed at the time of that Offering.

  VII. JURY TRIAL DEMAND

                    Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by

  jury of all of the claims asserted in this Complaint so triable.

  VIII. PRAYER FOR RELIEF

              WHEREFORE, Plaintiffs pray that the Court enter judgment on their behalf and on

  behalf of the Section 10(b) and Section 11 Classes herein, adjudging and decreeing that:

              A.    This action may proceed as a class action, with Plaintiffs as the designated

  representatives of the Section 10(b) and Section 11 Classes and Plaintiffs’ counsel designated as

  Co-Class Counsel for the Classes;

              B.    Plaintiffs and the members of the Section 10(b) and Section 11 Classes recover

  damages sustained by them, as provided by law, and that a judgment in favor of Plaintiffs and

  the Section 10(b) and Section 11 Classes be entered against KPMG in an amount permitted

  pursuant to such law;

              C.    KPMG, its subsidiaries, affiliates, successors, transferees, assignees, and the

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  respective officers, directors, partners, agents, and employees thereof and all other persons acting

  or claiming to act on its behalf be permanently enjoined and restrained from continuing and

  maintaining the conduct alleged herein;

              D.     Plaintiffs and members of the Section 10(b) and Section 11 Classes be awarded

  pre-judgment and post-judgment interest, and that such interest be awarded at the highest legal

  rate from and after the date of service of the initial complaint in this action;

              E.     Plaintiffs and members of the Section 10(b) and Section 11 Classes recover their

  costs of this suit, including reasonable attorneys’ fees as provided by law; and

              F.     Plaintiffs and members of the Section 10(b) and Section 11 Classes receive such

  other and further relief as may be just and proper.

              Respectfully submitted, this 15th day of September, 2017.

  /s/ Gordon Ball                                       Steven J. Toll
  Gordon Ball                                           Times Wang
  TN BPR#001135                                         COHEN MILSTEIN SELLERS
  Lance K. Baker                                         & TOLL PLLC
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  Ste. 600, 550 Main Street                             Tel: (202) 408-4600
  Knoxville, TN 37902                                   Fax: (202) 408-4699
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                                                        Co-Lead Counsel for Plaintiffs




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                                      CERTIFICATE OF SERVICE


              I hereby certify that on September 15, 2017, I caused the foregoing to be filed using the

  Court’s CM/ECF system, which in turn sent notice to counsel of record.




  Dated:        September 15, 2017                         /s/ Times Wang
                                                           Times Wang




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